Case 2:19-cv-06971-JMA-ARL Document 1-1 Filed 12/12/19 Page 1 of 78 PagelD #: 6

EXHIBIT A
 

(FILEDs SUFFOLK 9COUNTY, GBERK) 10/17/2019; 09:5 AM FNDEX NG. §29617/2019

NYSCEFP DOC. NO. 1 RECEIVED NYSCEF: 10/18/2019

SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF SUFFOLK x Index No.:
JACOB ADON]I and HARBOR PARK REALTY, LLC, SUMMONS
Plaintiffs,

Plaintiff designates Suffolk County
as the place of trial. The basis of

-against-
venue is plaintiff's residence and
WORLD BUSINESS LENDERS, LLC, AXOS place of business.
BANK f/k/a B-of-] FEDERAL BANK and CIRCADIAN

FUNDING, LLC,

Defendant(s).
Xx

 

To the above named Defendants:

YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a
copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
appearance, on the plaintiff's attorneys within 20 days after the service of this summons, exclusive
of the day of service (or within 30 days afier the service is complete if this summons is not
personally delivered to you within the State of New York); and in case of your failure to appear or
answer, judgment will be taken against you by default for the relief demanded in the complaint.

Dated: New York, New York

October 15, 2019
Yours, etc.,

/s Marcus Aurelius Nussbaum
Marcus A. Nussbaum, Esq.
Attorney for Plaintiffs

Mail Drop: P.O. Box 245599
Brooklyn, NY 11224
201-956-7071

Note: This action seeks equitable (to wit: declaratory and injunctive) relief and monetary
damages pursuant to of New York GBL § 349, and the FDCPA as set forth herein.

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A Page 3 of 7B Pagelb #8977779?

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DEFENDANTS’ ADDRESSES:

WORLD BUSINESS LENDERS, LLC AXOS BANK
C/O Corporation Service Company 4350 La Jolla Village Drive, Ste. 140
80 State Street San Diego CA 92122

Albany, New York, 12207-2543

CIRCADIAN FUNDING, LLC
C/O Corporation Service Company
80 State Street

Albany, New York, 12207-2543

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SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF SUFFOLK
x

JACOB ADONI and HARBOR PARK REALTY, LLC,

 

Plaintiffs, Index No.:

~against- VERIFIED COMPLAINT

WORLD BUSINESS LENDERS, LLC, AXOS
BANK f/k/a B-of-[ FEDERAL BANK and CIRCADIAN
FUNDING, LLC,

Defendant(s).
xX

 

Plaintiffs JACOB ADONI and HARBOR PARK REALTY, LLC (collectively,
“plaintiffs”), their attorney, Marcus A. Nussbaum, Esq., as and for their Verified Complaint
(‘Complaint’) herein, state and allege upon information and belief as follows:

PARTIES

1. Plaintiff HARBOR PARK REALTY, LLC is a domestic limited liability corporation
organized and existing under the laws of the State of New York with its principal office at 1019 Fort
Salonga Rd. Ste 112, Northport, NY 11768.

2. Plaintiff JACOB ADONT is a resident of the State of New York, residing at 19
Chestnut Hill Drive, Oyster Bay, NY 11771.

3. Mr. Adoni is the sole managing member of plaintiff HARBOR PARK REALTY,
LLC.

4. Upon information and belief, defendant WORLD BUSINESS LENDERS, LLC
(“WBL”) is a New York Limited Liability Company with its principal office at 101 Hudson Street,

33 Floor, Jersey City, NJ 07302.

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NYSCEF Doc. NO. 1 RECEIVED NYSCEF: 10/18/2019

5. Upon information and belief, defendant AXOS BANK f/k/a B-of-l FEDERAL
BANK (“AXOS”) is a Federally chartered savings bank with its principal office located at 4350 La
Jolla Village Drive, Suite 140 San Diego, California.

6. Upon information and belief, defendant CIRCADIAN FUNDING, LLC is a
Delaware Limited Liability Company with its principal office at 500 7th Avenue, 14th Floor, New
York, NY 10018.

7. Upon information and belief, CIRCADIAN FUNDING, LLC is an agent of WBL.

FACTS COMMON TO ALL PARTIES

8. On or about February |, 2019, Plaintiff JACOB ADONI was contacted by Stephen
Sheinbaum of CIRCADIAN FUNDING, LLC (Mr. Sheinbaum and CIRCADIAN FUNDING,
LLC are referred to collectively, as “CIRCADIAN”) with an offer for a personal loan to Mr. Adoni
which would be funded by WBL and AXOS.

9. CIRCADIAN represented to Mr. Adoni that the personal loan would be in the sum
of $110,000.00 and would be secured by a mortgage on Mr. Adoni’s personal residence, located at
19 Chestnut Hill Drive, Oyster Bay, NY 11771.

10. On or about February 5, 2019, CIRCADIAN provided Mr. Adoni with an estimated
closing cost disclosure which stated that “...you will be afforded the opportunity to review the
closing documents with your attorney...”, a copy of which is annexed hereto as Exhibit “A”.

11. At approximately 12:00 p.m. on February 22, 2019, CIRCADIAN provided Mr.
Adoni with a Business Promissory Note and Security Agreement (the “Note”), a Personal Guarantee
(the ‘“Guarantee”), Business Loan Summary, Conditional Closing Agreement, Cooperation
Agreement and other documents for Mr. Adoni to execute contemporaneously with the Note and
Guaranty (all of which collectively comprise the “Loan Documents”), and which are annexed hereto

as Exhibit “B”’.

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12. At approximately 12:00 p.m. on February 22, 2019, CIRCADIAN also provided
Mr. Adoni with a Mortgage, Assignment of Leases and Rents and Security Agreement (the
Mortgage’) to review and execute (annexed hereto as Exhibit “C”).

13. Mr. Adoni was told by CIRCADIAN at the time that the Loan Documents and
Mortgage were provided to him, that he must execute all documents no later than 6:00 p.m. on
February 22, 2019, after which the loan offer would no longer be valid.

14. On February 22, 2019, CIRCADIAN advised Mr. Adoni that a notary hired by
CIRCADIAN would meet him in a Panera Bread restaurant located nearby his home in order to
notarize his signature on the Loan Documents and Mortgage.

15. | The Loan Documents provide the terms of the loan as follows: Principal Amount:
$90,000.00; Repayment Amount: $122,422.73; Interest Charges: $32,422.73; Processing Fee:
$6,293.00; Payment Schedule: 125 payments of $971.61 due each “Business Day” commencing on
2/27/19 until 8/22/19, followed by a final payment of $971.48 on 8/23/19 when any outstanding
Principal, Interest, and other unpaid charges shall be due and payable in full; Interest Rate:
0.364520547945% per day on unpaid principal until paid in full; APR 138.1061%.

16. Mr. Adoni was told by CIRCADIAN at the time that the Loan Documents and
Mortgage were provided to him, that while the loan was meant to be a personal loan to him, in order
to facilitate the daily withdrawals by defendants for repayment of the loan, that it was necessary for
the Loan Documents to make reference to Mr. Adoni’s business, to wit! HARBOR PARK
REALTY, LLC, which would allow defendants to make withdrawals for repayment of the loan from
the corporate bank account of HARBOR PARK REALTY, LLC.

17. Defendants have now demanded payment in full according to the terms of the Loan
Documents and have inundated Mr. Adoni with multiple threats to foreclose on his home and on the

mortgage.

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18. Mr. Adoni has made said payments up and until his decision to file this Complaint.

FIRST CAUSE OF ACTION
(Declaratory Judgment)

19. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “1”
through “18” of this Complaint as if set forth at length herein.

20. The Supreme Court may render a declaratory judgment having the effect of a final
judgment as to the rights and other legal relations of the parties to a justiciable controversy whether
or not further relief is or could be claimed. See, CPLR 3001; Long Island Lighting Company v.
Allianz Underwriters Insurance Company, 35 A.D.3d 253, 826 N.Y.S.2d 55 (1" Dept. 2006).

2]. Pursuant to the terms of the Loan Documents, the loan has an interest rate that
exceeds 25%.

22, N.Y. Gen. Oblig. Law § 5-511 provides that usurious contracts are void. A personal
loan with an interest rate that exceeds 16% constitutes civil usury and a Joan from and to a
corporation with an interest rate that exceeds 25% constitutes criminal usury under New York law.

23. As such the Loan Documents and the loan itself constitute criminal usury and are
void ab initio.

24, The Court affirmed in Curtiss v. Teller, 157 A.D. 804, 804, 143 N.Y.S. 188 (4%
Dept. 1913), affd, 217 N.Y. 649, 112 N.E. 1056 (1916) that a usurious transaction is void ab
initio, and a return of excess interest cannot save to the lender the money actually advanced, or the
interest due on the loan. Consequently, although defendants need not return the interest plaintiff
Adoni has already paid, defendants “...cannot recover either the money loaned or the interest
remaining due in this transaction.” See, Id.; Szerdahelyi v. Harris, 67 N.Y.2d 42, 50, 490 N.E.2d

517 (1986).

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25. While plaintiff Adoni herein is not seeking recovery of the interest already paid to
defendants, and rather, is seeking a declaratory judgment, as stated immediately above, the
defendants should not be able to “recover either the money loaned or the interest remaining due in
this transaction.” Id.

26. When a court deems a transaction to be usurious, it must declare the transaction and
its supporting documents void, enjoin prosecution on them and order that all documents and
collateral be canceled and surrendered.” Id.

27. With respect to any loan or forbearance other than certain residential mortgage loans,
the term ‘interest,’ for purposes of New York's civil and criminal usury statutes, "mean[s] all
amounts paid or payable, directly or indirectly, by any person, to or for the account of the lender
which would be includible as interest under New York law as it existed prior to the enactment of
[section 14-a of the New York Banking Law,] chapter 349 of the Laws of 1968." 3 N.Y.C.R.R. §
4.2(b); see N.Y. Gen. Oblig. Law § 5-501(2).

28. New York State Penal Law §§ 190.40 and 190.42 prohibit loans with interest
exceeding twenty- five percent (25%) per year. Violating those proscriptions are class E and C
felonies, respectively.

29. Defendants all pertinent times, continuing through the present, engaged in interstate
commerce by making loans, including those which are the subject of this action, to entities in
various states, and collecting or attempting to collect upon those loans.

30. Defendants are in the business of making and collecting usurious loans because
lending at interest rates exceeding twenty-five percent (25%) per year (in this matter the loans and

broker fees exceed an annual rate of 200% and in this case 300%), and trying to enforce those

agreements, are defendants’ trade.

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31. The loans are in the first instance, represented to be personal loans, after which time
defendants engage in a “bait and switch” and explain that daily payments should be made from a

business account in order to facilitate the daily withdrawals by defendants for repayment of the loan.

32. The Loan Documents and Mortgage were prepared exclusively by the defendants
and not by the plaintiffs.
33. Plaintiffs were not provided with the opportunity to review the Loan Documents and

Mortgage with counsel and executed them while unrepresented by counsel.

34. It is clear that the terms of the loan as stated in the Loan Documents is usurious. It
would mean that defendants should be indicted if they were to attempt to enforce such a highly
usurious loan upon the plaintiffs.

35. Among other things, because commissions, origination fees, and similar charges
count towards usury, under each of the Loan Documents, defendants are in fact guaranteed interest
exceeding 200% upon full repayment. Even without those fees, gains exceed 167% per annum
because the loan which is the subject of this action must be repaid in about six months.

36. When a party contemplates taking certain action, a genuine dispute may arise before
any breach or violation has occurred and before there is any need or right to resort to coercive
(affirmative) measures. “In such a case all that may be required to insure compliance with the law is
for the courts to declare the rights and obligations of the parties so that they may act accordingly.
That is the theory of the declaratory judgment action authorized by CPLR 3001." New York Public
Interest Research Group v. Carey, 42 N.Y.2d 527, 529-530 (1977).

37. Plaintiff has a secured promissory note and its loan is deemed financially secured by
the personal assets of the Mr. Adoni.

38. Defendants have further failed to abide by NYS Banking Law §6-1 , 6-m, and

590(b); failed to abide by Notice Provisions of RPAPL $1302 and §1304 and failed to establish

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conformity with RPAPL §1303 and CPLR §3215(g)(3); failed to abide by the Federal Equal Credit
Opportunity Act, 15 U.S.C. sec. 1691; failed to abide by the Real Estate Settlement Procedures Act:
Truth in Lending Act; Federal Fair Housing Act, 42 U.S.C. sec.3604, 3605; CPLR §3408;
Homeownership and Equity Protection Act; and Gencral Business Law §349 (the "Deceptive
Practices Act").

39. Accordingly, plaintiffs request a declaration from the Court that the subject
agreements, Loan Document and Mortgage were void ab initio.

SECOND CAUSE OF ACTION AGAINST WBL AND AXOS
(Violation of New York GBL § 349)

40. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “1”
through “39” of this Complaint as if set forth at length herein.

41. WBL AND AXOS violated N.Y. Gen. Bus. Law §349 in that the mortgage
transaction described herein: (1) was indeed premised as a consumer transaction; (2) was misleading
in that WBL AND AXOS failed to provide all of the mandatory disclosures and information before
completing the transaction; (3) failed to allow plaintiffs the opportunity to review all of the loan
documents with counsel prior to their execution; (4) misrepresented to plaintiff Adoni the amount
which would be loaned to him; and (5) caused the financial and emotional harm to plaintiff Adoni in
that he is now at risk of losing his home as a result of the threatened frivolous foreclosure on the
mortgage, based upon a usurious loan.

42, By and through their acts, omissions, concealments, and misrepresentations,
Defendants violated N.Y. Gen. Bus. Law $349 with materially misleading and consumer-oriented
deceptive acts and practices, with a broad impact on consumers at large, and did so knowingly or

willfully.

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43. As a result, Plaintiffs suffered actual damages, past, present, and future including but
not limited to $100,000.00, as well as severe emotional distress, mental anguish, humiliation,
aggravation, embarrassment, anxiety, and fear.

44. As Defendants willfully and knowingly violated N.Y. Gen. Bus. Law § 349, they are
also liable for treble damages and civil penalties.

THIRD CAUSE OF ACTION AGAINST WBL AND AXOS
Violation of the Fair Debt Collection Practices Act 15 U.S.C. § 1692 et seq.

45. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “1”
through “44” of this Complaint as if set forth at length herein.

46. Plaintiffs have fallen victim to a null and void predatory mortgage loan, now falsely
alleged by WBL and AXOS to be a business loan.

47, Plaintiffs bring this cause of action pursuant to 15 U.S.C. § 1692 et seq., the Fair
Debt Collection Practices Act (“FDCPA”), New York General Business Law Section § 349 and
Section 419 of the Superintendent of the Banking Department’s regulations.

48. First, 15 U.S.C. § 1692 et seq. prohibits, among other things:

¢ Misrepresentation or deceit: misrepresenting the debt or using deception to collect a debt:
and

e Seeking unjustified amounts, which would include demanding any amounts not permitted
under an applicable contract or as provided under applicable law.

49. As such, it is indisputable that defendants WBL and AXOS have violated 15 U.S.C.
§ 1692 ef seq. in that they misrepresented the nature of the loan (now claiming that it was a business
loan) and by attempting to collect on a loan which is usurious as set forth in detail herein.

50. As such, plaintiffs seek an award of damages, in the amount of One Hundred

Thousand Dollars ($100,000.00) for each claim.

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(FILED: SUBEOLK-COUNTY. GDUERK, 104177 2019.092/58), AM FANDEX NG» §29617/2019

NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 10/18/2019

FOURTH CAUSE OF ACTION AGAINST WBL AND AXOS
51. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “1”
through “50” of this Complaint as if set forth at length herein.

52. Mr. Adoni is a consumer and the void obligation between the defendants and
plaintiffs which is the non-valid debt allegedly owed pursuant to the subject loan documents and
mortgage can be defined as a consumer debt under applicable New York State and Federal Law.

53. WBL and AXOS have engaged in consumer collection conduct which amounts to a
violation of New York State and Federal laws, as set out herein and the plaintiffs, as a proximate
result thereof, have sustained economic damages for which the plaintiffs are entitled to compensation
from the defendants.

54. Defendants’ collection activities described herein violated New York State and
Federal Laws (FDCPA) in the defendants are attempting and threatening to collect and enforce this
void consumer mortgage debt through threatened foreclosure action when defendants know that they
have no right to pursue and/or collect the alleged debt because no valid debt currently exists, nor has

ever existed for the reasons set forth herein.

FIFTH CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Preliminary and Permanent Injunction)

55. Plaintiff repeats and realleges each and every allegation contained in paragraphs “1”
through “54” of this Complaint as if set forth at length herein.

56. Defendants may, at any time, attempt to enter confessions of judgment against
plaintiffs herein and proceed with foreclosure of the Mortgage due to plaintiff's filing of the instant
action.

57. If defendants initiate foreclosure proceedings against the Mortgage, plaintiff Adoni

will be at risk of losing his home and primary residence prior to the resolution of these proceedings.

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58. The terms of the loan as evidenced by the Loan Documents and Mortgage are clearly
usurious and by reason of the foregoing, plaintiffs are likely to succeed on the merits.
59. By reason of the foregoing, a balancing of the equities favors plaintiffs.
60. Plaintiffs have no adequate remedy at law.
61. Accordingly, plaintiffs are entitled to an injunction permanently barring and

enjoining Defendants, their officers, agents, servants, employees, and attorneys, and those persons in

active concert or participation with him who receive actual notice of the injunction, from further

enforcement of any provisions of the Loan Documents, Mortgage, and/or documents signed until

this matter is decided by this court in its entirety.

62. Alternatively, preliminarily and permanently enjoining Defendants, their officers,

agents, servants, employees, and attorneys, and those persons in active concert or participation with

them who receive actual notice of the injunction, from collecting on any judgments should they be

granted to Defendants in any other court, until this matter is further adjudicated.

WHEREFORE, Plaintiffs demand declaratory judgment against Defendants:

A, Determining that the Loan Documents and Mortgage along with any other
documents signed by Plaintiffs are deemed usurious on its face and be deemed void
barring Defendants from further collection of any outstanding debt;

B. Preliminarily and permanently enjoining Defendants, their officers, agents, servants,
employees, and attorneys, and those persons in active concert or participation with
him who receive actual notice of the injunction, from further enforcement of any
provisions of the Loan Documents, Mortgage, and/or documents signed until this

matter is decided by this court in its entirety;

C. Alternatively, preliminarily and permanently enjoining Defendants, their officers,
agents, servants, employees, and attorneys, and those persons in active concert or
participation with them who receive actual notice of the injunction, from collecting
on any judgments should they be granted to Defendants in any other court, until this

matter is further adjudicated;

D. Awarding Plaintiffs treble damages under NY Gen Bus Law § 349, and punitive
damages and civil penalties in an amount to be decided by a judge or jury:

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NYSCEF DOC. NO.

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Awarding Plaintiffs damages under 15 U.S.C. § 1692 et seq., and punitive damages
and civil penalties in an amount to be decided by a judge or jury;

Awarding Plaintiffs their costs and reasonable attorneys’ fees in this action;

That this Court retain jurisdiction over this matter for purposes of ensuring
Defendants’ compliance with this Court's order; and

Granting Plaintiffs such other relief as this Court may deem just and proper.

New York, New York
October 15, 2019

Respectfully submitted,

By: /s Marcus Aurelius Nussbaum
Marcus A. Nussbaum, Esq.
Attorney for Plaintiffs
Mail Drop: P.O. Box 245599
Brooklyn, NY 11224
201-956-7071

 

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STATE OF NEW YORK }

COUNTY OF SUFFOLK )

JACOB ADONI, being duly swarn, says:
iam a plaintil in this action, and I am also the sole managing member of the Emited

‘

ability corporate plaintiff in the action herein: | have read the annexed VERIFIED COMPLAINT

and know the contents thercol, and the same are true to my knowledge, except those matters therein
which are stated to be alleged upon information and belief. and as to those matters | believe them to

he true. My beef

 

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based upon facts.
records, and other perilnent information contained in my persona! Ales.

DATED: Northport, New York
October 15, 2019

 

  

Swom to before me this

 

 

13th day of October, 2019
aan
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Notary P ubli ic
MARCUS A. NUSSBAUM
Notary Public - State of New York
Reg.# 02NU6219792
Qualified in Kings County
Commission Expires March 29, 20.2.2-
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EXHIBIT “A”

 
 

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iress Lenders

Jersey City, New Jersey 07302
Phone: 212-293-8206

Loan Product / Estimated Closing Cost Disclosure & Applicant Authorization

Business Name: Harbor Park Realty LLC

Applicant: Jay Adoni

Thank you for considering Warid Business Lenders, LLC (“WBL” or “LENDER”} for your short term business financing needs. At
WBL, we appreciate that many small businesses are unable to satisfy the standard underwriting requirements of banks and
other finance companies. We also understand that small businesses often need more immediate access to working capital than
can be made available from these institutions.

During the application process, WBL works with you to identify a short term business loan praduct with terms that reflect the
risks associated with your business profile and the quality and character of the collateral to support your loan request. Hf your
application is approved, the terms of the approval will be confirmed with you prior to scheduling a closing, and you will be
afforded an opportunity to review the closing documents with your attorney, which we strongly encourage you to do. This
document includes the following:

 

 

 

 

e Section!. General Loan Product Disclosure e Section V. Fair Lending Notice
e Section ll. Estimated Closing Costs ® Section Vi. E-Sign Disclosure and Consent Notice
* Section lll. Collateral information e Section Vil. Authorization to Disclose Information
¢ Section IV. Payment Method Authorization ® Section Vi. Third Party Disclosure
Section I. General Loan Product Disclosure
Term: 6 months to 2 years
Payment Frequency: Dally / Weekly (Weekly payments are available for qualified applicants upon approval)
Loan Amount: § 50,000 to $ 2,060,000

 

Interest Per
Dollar Borrowed*:

& months: 6% —27% 12 months: 11% ~ 57%
18 months: 17% - 91% 24 months: 23% — 127%
* Total interest payable through maturity per dollar borrowed

 

 

Annual interest Rate: 40% - 140%
Determination of Favorable rates are available to business apolicants that | Higher rates are required for business applicants that exhibit:
Interast Rate: exhibit: » Weak revenues relative to loan payments

* Business owners with weak credit profiles

* Weak business credit profile (e.g., judgements, Hens}
* Multiple outstanding short term loans

* Loans currently in default

» Lass liquid collateral

» Strong revenues relative to loan payments
* Business owners with strong credit profiles
* Favorable business credit profile

* No other short term debt

» Highly Hquid collateral

® No liens on collateral * Existing Hens on collateral
* Strong collateral equity in exces of loan ammount e Weak equity in collateral

 

 

Prepayment Premium:

in most Cases, a prepayment premium will be due when the loan is paid off early. The prepayment premium is the greater of {i}
the remaining interest that would have been paid through maturity, or (11) 15% of the unpaid principal balance of the loan at the
tirne of prepayment. Partial prepaymeris are not permitted.

 

Collateral
Requirements:

Real estate collateral (commercial, residential or vacant land) is required. Vehicle and other collateral may be considered on a
tase by case basis. In the event of a default, the LENDER may seek to foreclose on the collateral securing the loan.

 

Property Insurance:

Required for all real estate collateral when the loan amount is equal to or greater than $ 100,000.

 

Personal Guarantee:

Required of all owners of the business. In some cases, the guarantee of affillates may be required.

 

Processing Fee:

$795, only collected at the time of funding.

 

Costs**:

Esch application requires a deposit for the cost of valuation and title reports covering the collateral supporting the loan request.

These costs will vary based upon the type, quantity and location of collateral. The balance of any valuation and tithe costs will be
collected at funding,

**£ee Section li for Estimated Closing Costs

 

Legal Opinion to be
Provided***:

 

Loan Amount < $ 200,000 ~ Legal opinion may be required depending upon circumstances

Loan Amount $ 200,000 - § 349,000 ~ See Form Attached Exhibit A

Loan Amount > 5 350,000 - See Form Attached as Exhibit 8

*** Foy loan amounts greater than $200,000, the borrower is required to provide a legal opinion that includes standard
representations associated with commercial loans, including due authorization, enforceability under state law, and

 

 

absence of contractual or regulatory matters that would prevent performance of the loan.

 

Applicant Initials:

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Section Il. Estimated Closing Costs

*Note: Where more than 2 states are involved for a.residential or commercial property type, use an additional form.

# Parcels /Units # Parcels/Units

; . ; Prequalified
Residential RE State1 New York | Commercial RE State 1 Select State . o Loan Amount $ 110,000.06
Residential RE State 2 Select State o Commercial RE State 2 Select State 0 Date

   

   
   

  

     

 

 

 

Average Cost , Estimated Deposit ue Prior te nce Oi
Per Unit Closing Costs Per Unit Closing Closing
Le Real Estate Collateral
Residential Tile 2 i $3 1665.00 § 1.665.506 $ 290.00 $ 290.06 $1375.00
Residential Titie 2 0 $6.90 $0.06 § 290.00 3 0.90 $0.00
Commercial Tike 4 0 $0.00 6.00 5 365.00 $0.00 $ 0.00
Commercial Title 2 if $6.00 $050 $ 365.00 $0.00 $6.60
Lb High-Cost State®* Add-on
Residential Title 4 od - % 1,650.00 3 1,650.00 $ 1650.00
Residential Tite 2 oe $ 0.00 $0.00 $0.06
Commercial Title 1 a 5 6.0 $0.00 $ 0.00
Commercial Tile 2 0 $0.00 $0.00 $0.00
i, Valuations *
Residential 1 $ 300.00 § 300.090 § 30.60 § 32.00 30.80
Commercial en $1,200.00 $0.00 $1200.00 $0.00 $ 6.00
ii. Notary Fee 1 DQ § 300.00 (2) $ 300.06 $ 300.00
{ Per Closing Location} ee remem ~
iV. Processing Fee 1 $795.06 $795,00 N/A N/A § 795.06
V. Additional Fees /
Adjustments $0.00 N/A 5 0.00 NYA 5 0.00 $0.06
VI Origination Fee 86.00 $ 6.00 $0.00
Total Costs $4,710.00 § 590.00 34,120.00

 

 

 

 

 

 

(1) Single charge unless docurnents notarized at more than one location, or if more than one title policy is required
(2) Includes Courier Fee of $15

Note: The above is only an estimate of total closing costs. Title costs, in particular, may vary based upon the applicable state and county as well as the complexity of title.
Please be advised this estimate does nat include any service to remove outstanding liens, such as, for example, open judgments, property taxes and any related escraw
of funds which may be required by underwriting to facilitate the lean.

**High Cost States” are Alabama, Florida, Georgia, Kansas, Maryland, Minnesota, New York, Oklahoma, Tennessee, and Virginia

 
  

Applicant initials: _

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BUSINESS PROMISSORY NOTE AND SECURITY AGREEMENT
BORROWER: Harbor Park Realty, LLC
PRINCIPAL Uncluding processing fees): $90,000.00
DATE: 2/22/2019

1. PROMISE TO PAY: Harbor Park Realty, LLC (“Borrower”), a(n} New York limited liability company, with its
principal place of business located at 1019 Fort Salonga Rd. Ste 112, Northport, New York, 11768, does hereby promise to
pay to the order of Axes Bank®, its suceessors and/or assigns (“Lender”) at its offices located at 9205 West Russell Road,
Suite 400, Las Vegas, NV 89148, or at such other location or in such other manner as designated by Leader, the sum of
NINETY THOUSAND DOLLARS AND ZERO CENTS ($90,000.00) (“Principal”) plus interest at the daily interest rate set
forth below in Section 2 in accordance with the payment schedule set forth below in Section 3. This Business Promissory
Note and Security Agreement (“Loan Agreement”) is approved, and the proceeds are disbursed, by Lender in Nevada. The
business loan represented by this Loan Agreement is a higher cost loan than business loans which may be aygilable
through other sources. Before signing this Lean Agreement, Borrower should fully consider all costs and fe
asseciated with this business loan. y

  

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2. INTEREST RAE: The unpaid Principal shall bear interest at the rate of 0.364520547945%

 
 
  

3. PAYMENT SCHEDULE/APPLICATION OF PAYMENTS: Borrower shall r the Prigoipat aldntdtest cominencing

on 2/27/2019 and on each Business Day thereafter until 8/22/2019 with ie ta pa ment equaling S576) followed by a

final payment of $971.48 on 8/23/2019, when any remaining outstandin egpal abferest and other unpaid charges shall

be due and payable i in full. "Business Day” means any Menday enrol h ne day, except FedgGib Reserve holidays. The
period commencing on 2/27/2019 and ending on 8/23/2019 isaeferred oe the Re saymiea pen

NE wp aay

All payments shall be made by automatic ACH debit from the “Be Signatell heckinign ccount” set forth in the Busmess Loan
Authorization Agreement for Direct Deposit (ACHE [ Gredit) and DH SpPadnents (Ac Hi Debits} given by Borrower to Lender
or pursuant to an alternative payment method presgribed by Lender, andy sprrower shall maintain balances in the Designated

Checking Account sufficient to make caéh? ally Pay fment due under this [an Agreement.

 

  
 

 
 
    

Payments shall be cppttee on. the cf ivi to late charges and other charpes due under this Loan Agreement, then to

          

ENT AND PREPAYMENT PREMIUM: Borrower may prepay the unpaid Principal in full at
any time, but ni men pig e i repayment (except as s permitted by applicable law). Any such prepayment of the unpaid
Principal | shall accompanied aN prepayment premium equal to the greater of (a) fifteen percent (15%) of the amount of
roe uapaic Beipcipal as of th ane Bef such prepayment and (b) the aggregate amount required to be repaid by Borrower to
1 ie the Repaymes | Peribal reduced by the suum of (i) the aggregate amount of any payments made by Borrower to
ee pursuant nto Sections vabove before such prepayment and (ii) the amount of the unpaid Principal as of the date of such
prepayment, This: ‘prepay’ ent premium is in addition to any and all interest calculated and accrued on the unpaid Principal
as of the date of such prepayment in accordance with Section 2 above together with all other amounts then due and payable
under this fan Agreement. No prepayment is permitted unless all outstanding charges are paid in full as of the date of
prepayment If Borrower desires to prepay, Borrower shall send a written request to WBLPayoff@wblcom. In addition,
Borrower may contact Lender’s Servicing Agent at 101 Hudson St., 33'¢ Floor, Jersey City, NJ 07302 or at 1-800-432-
9359 and Lender’s Servicing Agent shall provide Borrower with the amount of the unpaid Principal, prepayment premium,
and any other amounts due under the terms of the Loan Agreement as of a date designated by Borrower. For the avoidance of
doubt, as permitted under applicable law, if the Obligations (as defined below) have been accelerated on the happening of an
Event of Default (as defined below), payment of Principal and interest shall be deemed a prepayment for purposes of this
Section 4 and shail be gccornpanied by a prepayment me premiiiny

   
  
  
 

 

connection swith 2 any > payment oy check or electronic transfer that i is “retumed unpaid because cota an insufficient balance i in the
Designated Checking Account or otherwise.

6. SECURITY INTEREST: Borrower grants to Lender a security interest in and to any and all property as described below in
this Section 6 to secure payment of all debts, obligations and liabilities of Borrower to Lender evidenced by this Loan
Agreement or any other financing agreement with Lender with respect to which the Lender’s servicing agent is the same as
the Servicing Agent hereunder (including, but not limited to, Principal, interest and collection costs incurred in connection

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with this Loan Agreement and/or any other documents or instruments now or hereafter executed in connection with this Loan
Agreement or any other financing arrangement with Lender with respect ta which the Lendler’s servicing agent is the same as
the Servicing Agent hereunder, the “Obligations”). This is a continuing security interest and will continue in effect as long as
any Obligations: remain outstanding. The collateral includes the property purchased with the proceeds a Loan
vehicles and other personal property described on Sche dule B attached to and made a ‘part ‘of this ? Loan ‘Aalement Speci 1¢
Collateral”) and all other personal property now owned or hereafter acquired by Borrower (which, along with Purchase
Money Collateral and Specific Collateral, is collectively referred to as “Collateral”), including, but not limited to, all goods
{except consumer goods), farm products, Inventory, equipment, furniture, money, instruments, accounts, accounts receivable,
contract rights, documents, chattel paper, gencral intangibles, including, but not limited to, all products and proceeds of
Collateral and all additions and accessions to, replacements of, insurance proceeds of, and documents covering Collateral, all
property received wholly or partly in trade or exchange for Collateral, all leases of Collateral and all rents, revenues, issues,
profits and proceeds arising from the sale, lease encumbrance, collection, or any other temporary or permanent disposition, of
the Collateral or any interest therein. Borrower agrees that |.ender may file any financing staternent, lien entry Gkm or other
document Lender requires in order to perfect, amend or continue Lender’s security interest in the Collateral a i@\Borrower
agrees to coopcratc with Lender as may be necessary to accomplish said filing and to do whatever Lendét deems nig bessary to
protect Lender’s security mterest m the Collateral. Borrower shall ensure that Lender is named as the only'itn ho der on the
titles to the motor vehicles listed on Schedule B to this Loan Agreement as of the date of this, gO dares eal the nearest
subsequent date as permitted under applicable law, rule or regulation). Ss A aN

 

  
   
    
  

  
 

  

Borrower shall maintain the Collateral in good condition and repair and not Gt its epg to
Collateral free from all liens, encumbrances and security interests (other then thosexcre
Loan Agreement); defend the Collateral against all claims and legal | flocs dines b

cischarge when due all taxes, license fees, levies and other nes upon: if ¢ Colfatera

    

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ASe’or otherwise dispose of
‘ specificn ly authorized by Lender in
Sle law, ‘ile , refitlation or policy of insurance.

 

 
  

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fh sie deeried advisable by Lender to preserve the

Collateral or to establish, detennine priorit of, Fat, continue ones djlterminate and/or eatorce Lender's 's interest in the
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Collateral or rights under this oan Agréeine

  
   

 

  

    

Por 10-demand ter ation of filings of other secured par! ties. Lender has no duty to protect
insure or realize upon thet allateral, Lf oss of or \@amage to the Collateral shall not release Borrower from any of the
Obligations. : : wy

7. FOR BORRO! COL ATERAL IN LOUISIANA ONLY:

a) Foreclosure. If Biibw
elat t, Lender she

      
  
   

  

5 domiciled in, or Collateral is located in, Louisiana, on the happening of an Event of
| ae the right to commence appropriate foreclosure proceedings against the Collateral and

     

oan Agreement, Lender may cause the Collateral, or any part or parts thereof, to be immediately seized and
wa whether in term of court or in vacation, under ordinary or executory process, in accordance with applicable
Vouisiana law, to the highest bidder for cash, with or without appraisement, and without the necessity of making
additional demand upon or notifying Borrower or placing Borrower in default, all of which are expressly waived.

(c} Executory Process. Vor purposes of foreclosure under Louisiana executory pracess procedures, Borrower confesses
judgment and acknowledges to be indebted to Lender, up to the full amount of the Obligations, in Principal, interest,
prepayment charges, NSF Charges, and any other unpaid costs and charges authorized by the Loan Agreement,
reasonable attorneys’ fees and all costs of collection. Borrower further confesses judgement and acknowledges to be
indebted unto and in favor of Lender in the amount of any additiona] advances that Lender may make on Borrower's
behalf pursuant to the Loan Agreement, together with interest thereon. To the extent permitted under applicable
Louisiana law, Borrower additionally waives the following:

(i) the benefit of appraisal as provided in Articles 2332, 2336, 2723, and 2724 of the Louisiana Code of Civil
Procedure, and all other laws with regard to appraisal upon judicial sale;

(ik) the demand and three (3) days’ delay as provided under Articles 2639 and 2721 of the Louisiana Code of
Civil Procedure;

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REPRESENTATIONS: As of the date hereof, the Borrower hereby represents to the Lender that:

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Gi) the notice of seizure as provided under Articles 2293 and 2721 of the Louisiana Code of Civil Procedure;

(iv) the three (3) days” delay provided under Articles 2331 and 2722 of the Louisiana Code of Crvil Procedure;
and

tv) all other benefits provided under Articles 2321, 2722 and 2723 of the Lonisiana Code of Civil Procedure
rd P e
and ail other Articles not specifically mentioned above.

Keeper. Should any or all of the Collateral be seized as an incident to an action for the recognition or enforcement of
this Loan Agreement, by executory process, sequestration, attachment, writ of fieri facias or otherwise, Borrower
hereby agrees that the court issuing any such order shall, if requested by Lender, appoint Lender, or any agent
designated by Lender or any person or entity named by Lender at the time such seizure is requested, or any time
hereafter, as “Keeper” of the Collateral as provided under La. B.S. 9:5136, ef seg. Such a Keeper shall be entitled
to reasonable compensation. Borrower agrees to pay the reasonable fees of such Keeper, which compensation to the
Keeper shall also be secured by this Loan Agreement.

 

 

Borrower is the owner of or is acquiring ihe Purchase Money Collateral free of all hens, encuifances and security

interests (except Lender's security interest), and is the owner of all other Collateral free of all Lien cnctimbrances

and security interests, except Lender’s security interest and any security interests s listed: ~ (
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made a part of this Loan Agreement;

  
  
 

    
  
 
 
   

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the proceeds of this Loan Agreement will be used for business purpose:
family or household purposes or to purchase personal, copstifier, fy fa unil ranaget son ds, Borrower
wnderstands Lender is relying on the accuracy of this repréy ntatidn i nijsbiirsing the eoan proceeds and that

1 Apreemen lor personal, consumer, family or
oul ah oSa a ‘goods means that certain

 

 

any other document or instrument given to Lender in Cofinection with or related to this Loan Agreement.
Borrower also understands hat, Len er will be unable to’confirm whether the proceeds of this Loan
Agreement will be used . Agr busingis>parposes only, Borrower acknowledges and agrees that a breach by
Borrower of the pression volt his subseeti Hon 8(b} will not affect Lender’s right to

 

   
    
 
 
  
 

‘ower’ $ promise top: ¥ for all amounts owed under this Loan Agreement, regardless of
4 orwhith the proceeds of this Loan Agreement are in fact obtained or

ie available ta Lender, even if that remedy would not have been available had
oS Loau Agreement t been used for consumer purposes;

 

the fo! iste be kept at Borrower’s address set forih above in Section | or as indicated on Schedule D attached
fand made a part of this Loan Agreement;

 

fe): Botrower s name in Section | ebove is its exact name on its organizing and/or registered documents, if any, and

“Section | above accurately identifies Horrower’s jurisdiction of organization and principal place of business,
Borrower shall immediately advise Lender in writing of any change in Borrower’s name or address as set forth
above in Section 1;

Borrower is duly organized, validly existing, in good standing under the law of the jurisdiction in which it is
organized, is in compliance with all applicable laws, rules and regulations, and has all hcenses and authorizations
necessary to carry on its business as now being conducted; Borrower has the full power and authonty to execute,
deliver and perform all transactions contemplated by this Loan Agreement and the performance of and compliance
with the terms of this Loan Agreement will not violate the Borrower’s organizational documents or constitute a
default of any contract, agreement or other instrument to which Borrower is a party;

Borrower has duly authorized the execution, delivery and performance of this Loan Agreement and has duly
execuied and delivered this Loan Agreement, and this Loan Agreement constitutes a legal, valid and binding
obligation of the Borrower, enforceable against it in accordance with its terms;

August 2018.4

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COVENANTS: Borrower hereby agrees that as long as anyiQblig
otherwise): See

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there is ne action, suit, proceeding or investigation pending or, to Borrawer’s knowledge, threatened against or
affecting it or any of its assets before or by any court or other governmental authority which, if determined adversely
to ul, would have a material adverse effect on its financial condition, business or prospects, or the value of the
Collateral (any of the foregoing, a “Litigation Event’);

except to the extent Borrower bas advised Lender in writing, Borrower has not been notified by any of us lenders
that itis in default under the terms of any of its credit agreements, nor has Borrower done, caused te be done, or
failed to do any act or omission that would result in a default under any credit agreement; and

no third party source of financing for Borrower’s customers has discontinued, or threatened to discontinue providing
financing to Borrower's customers.

Borrower does not engage in the business of manufacturing, distibuting or dispensing Cannabinoid, Marijuana
Accessories or Marijuana Products (each as defined below in this subsection 8(k)), nor shall any property owned by
Borrower (whether or not securing the business loan represented by this Loan Agreement) be utilized by Borrower,
or any third party, for the purpose of manufacturing, distributing or dispensing any of the foregoing. Agtsed in this
Loan Agreement, (2) “Cannabinoid” means any of several compounds produced by manjuaz hor S.
medical and psychotropic effects; Gi) “Marijuana Accessories” means equipment, products, $ g oF HF aterials of
any kind that are tended or designed for use in planting, propagating, cultivating, Browik fal esting,
manufacturing, compounding, converting, producing, processing, prep: ornate te endl g packaging,

repackaging, storing, containing, ingesting, inhaling or otherwise introducing dmanyuana “iat puma Dod y; and
(ii) “Marijuana Products” means products that have been manufactured! nd contain gnarijuan pan extract from
marijuana, including, without limitation, concentrated forms of marffuana’ hd progile aS composed Of marijuana and
other ingredients that are intended for use or consumption, inchi@ing; * thot t, iputation, edible prod lucts, beverages,
topical producis, omtments, oils and tinctures. 4 :

   
 
 

 

 

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Whether Principal, interest or

  
   

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Borrower shall promptly provide any fifi oma nes or permit an examination of its books and
a Borroy er’s ability to pay x $ Obligations and all other financial obligations and
y records in conformity with applicable law, rules and regulations;

tax returns, and Pay all related taxes when due;

 

Her shall not (3) merge or consolidate with another entity, which merger or consolidation results in less than
percent (50%) of the outstanding voting securitics of the resulting entity being owned by the then existing
olders of securities of the Borrower or (ii) transfer, assign, license, sell, lease or otherwise dispose of all or
substantially all of its assets to a person that is not a wholly-owned subsidiary of the Borrower; provided, that the
Borrower shall cause ary such subsidiary to comply with the provisions of this clause (1); and

Borrower shall not engage in the business of manufacturing, distributing or dispensing Cannabinoid, Marijuana
Accessories or Marijuana Products, nor shall any property owned by Borrower (whether or not securing the business
loan represented by this Loan Agreement) be utilized by Borrower, or any third party, for the purpose of
manufacturing, distributing or dispensing any of the foregoing.

10, DEFAULT: On the happening of any of the following events (each an “Event of Default”):

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(a)
(b)

failure by Borrower to pay any payment required by this Loan Agreement when due;

failure by Borrower to observe, perform, keep or abide by any term, covenant or condition contained in this Loan
Agreement or any other document or instrument given to Lender tn connection with or related to this Loan
Agreement, including any real estate mortgage, security agreement or other agreement or document now or hereafter
evidencing or creating any security for the payment of this Loan Agreement;

Revision Date: August 20[8.a

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(c) the filing of a bankruptcy proceeding, assignment for the benefit of creditors, issuance of a judgment execution,
gamishment or levy against, or the appointment of a representative of any kind for the commencement of any
proceeding for relief from indebtedness by or against Borrower, or the Borrower shall not, or shall be unable to, or
shall admit in writing its inability to, pay its debts as they become due;

{d) the happening of any event, which, in the reasonable judgment of Lender, adversely affects Borrower’s ability or the
ability of any guarantor of Borrower’s Obligations under this Loan Agreement (“Guarantor”) to repay Borrower's
Obligations, or materially affects the value of the Collateral;

(e) any written representation, statement or warranty made to Lender by Borrower or any Guarantor is untrue when
made;

(8 the occurrence of

() a default under any guaranty of Borrower’s Obligations (‘Guaranty’), or any other document or instrument
given to Lender in connection with or related to this Loan Agreement, or

   

(a) a default or an event of default under any other loan agreement or financing arrang
may have with Lender or any other lender or financing source;

(g) any Guaranty ts revoked or becomes unenforceable for any reason;

(h) Lender, upon examination of Borrowcr’s financial information during the t
insecure in Borrower's ability to pay the Obligations,

    
 

then (A) in connection with an Event of Default pursuant to clause (c) abové, the & igatighs” “tinder this O80 Agreement or
other agreements shall immediately become due and payable and Leifer Shall hake, : the right # proceed to collect such
Obligations under applicable law and enforce its rights under any Guarality, anil B) in Connections Svith any Event of Default
other than pursuant to clause (c) above, Lender may, at its Qption declare, e unpatd {iBlasice of all Obligations under
this Loan Agreement or other agreements immediately due sid°pa APR ableSand shall have 1€ right to proceed to collect such
Obligations under applicable law and enforce its rights under any an Bn In additisn, Lender may, in connection with the
events deseribed in clause (A) and (B) above, procedd against the Sie and any other collateral sccuring any obligation
to Lender as if Said collateral secured the bligations, as permitted under:the e applicable Uniform Commercial Code or any
ah Commercial Code, Lender may take possession of Collateral withoul
aves, and Pipon mdemand, Borrower shall assemble the Collateral and make it available to

oe by coe 8 receipt of 2 any payment after the occurrence of an Event of

   

 

  
  
 
 
 
  
 
   
 
 
  
   
   

Default, wether or got a
rights or remedi¢s: Upon ;
collection ‘pee

 

soptblet time or - times t to inspect the Collateral wherever located and the interior and exterior of ony
£ busin sé, and Borrower shall assist Lender and its representatives and agents m making any such
Inspection. <pur gan a yection of any Borrower place of business, Lender or Lender’s representatives and agents may
examine, > angng other things, whether Borrower (i) has a place of business that is separate from any personal residence, (ii) is

en for bugimess, (iti) has sufficient inventory and/or staff to conduct Borrower’s business and (iv) has one or more credit
Catdsterifiufals or point of sale systems if Borrower processes eredit card transactions. When performing an inspection,
Lender or Lender’s representatives and agents may photograph the interior and exterior of any Borrower place of business,
including any signage. Any photograph will become and remain the sole property of Lender and will be shared with
Lender’s employees, representatives and agents. Borrower grants Lender the irrevocable and permanent right to display and
share any photograph in all forms, including composite and modified representations, for all purposes, with Lender’s
employees, representatives and agents. Borrower agrees to retmburse Lender for the cost of the Inspections described in this
Section 11.

EVALUATION OF CREDIT: Borrower authorizes Lender to obtain business and personal credit bureau reports in
Borrower's name, at any time and from time to time for purposes of deciding whether to approve the requested business loan
or for any update, renewal, extension of credit or other lawful purpose. Upon Borrower's request, Lender will advise
Borrower if Lender obtamed a credit report and Lender will give Borrower the credit burean’s name and address. Borrower
agrees to submit current financial information, a new credit application, or both, in Borrower’s name at any time promptly
upon Lender’s request.

    

Revision Date: August 2018.8

 
 

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13. ATTORNEYS’ FEES, COLLECTION COSTS AND POST-JUDGMENT RATE OF INTEREST: In the event Lender
retains counsel with respect to enforcement of its rights under this Loan Agreement or any other document or instrument
given to Lender, Borrower agrees to pay all expenses of Lender m enforcing tts nights to collect the Obligations or in taking
possession, holding, preparing for disposition, and disposing of the Collateral, including Lender's reasonable attorneys’ fees
(whether or not an action is commenced and whether or not in the court of original jurisdiction, appellate court, bankruptcy
court or otherwise) and all costs of collection of any judgment and any costs of appeal. In the event this Loan Agreement is
brought to a judgment, interest shall accrue at the interest rate set forth in Section 2 above until the judgment is sanstied,
except as prohibited by applicable law.

14. SALE OF LOAN AGREEMENT: This Loan Agreement, or an interest in this Loan Agreernent, together with the rights to
the Collateral, may be sold, assigned, transferred or conveyed by Lender one or more times.

15. INDEMNIFICATION: Except for Lender’s willful misconduct, Borrower will indemnify and save Lender harmless from
all loss, costs, damage, liability or expenses (inchiding, without limitation, court costs and reasonable attormeys’ fees} that
Lender may sustain or incur by reason of defending or protecting Lender’s security interest or the priority thereof or
enforcing its rights to collect the Obligations, or in the prosecution or defense of any action or proceeding congeming any
matter growing out of or in connection with this Loan Agreement and/or any other documents o aibstrumettts now or
hereafter executed in connection with this Loan Agreement and/or the Obligations and/or the Collateral. Wh hidindema| ity shall
survive the repayment of the Obligations and the termination of this Loan Agreement. ue AN Be

16. MISCELLANEOUS: \

a 4 a
A greementsshall no gidecmied a waiver

(a) Delay or failure of Lender to exercise any of its rights under this Loan
thereof. No waiver of any condition or requirement shall operatg as d-waiver of alyother or subsequent condition or

   
 

 
   
  

   
  
  
 
 
 

requirement. Ve

    

     
  
 
      

 

(b) This Loan Agreement may not be madified orally,,and may
Lender and Borrower. De

      

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(c) Lender is an FDIC msured, federal saving association andhthis [oan Agreement is approved, and the proceeds are
disbursed, by Lender in Nevada. CONSEQUENTLY, THISIBOAN AGREEMENT WILL BE GOVERNED BY
FEDERAL LAW APPLICABEE,. TO AN FDIC INSURED“INSTITUTION AND TO THE EXTENT NOT
PREEMPTED BY FEDERAL LAW? THE LAWS OF THR STATE OF NEVADA WITHOUT REGARD TO
CONFLICT OF LAWSRUEES), The lépality, enforceability and interpretation of this Agreement and the amounts
contracted for, chat eA and re i “te Loan Agreement will be governed by such laws.
oe ee

 

 
 

 

 

 

endét Aereest wat any action or proceeding to enforce any rights or obligations arising out of this Loan
t keds commenced in the state (or commonwealth, as the case may be) of Borrower's address set forth
in Section | above, (Borrower's State”} and Borrower waives personal service of process and agrees that a
summons and complaint commencing an action or proceeding in any such court shall be properly served and confer

ersonal jurisdicti an if served by registered or certified mail te Borrower at the address specified by Borrower abave
a1, oF as otherwise provided by the laws of the Borrower's State or the United States of America.
Borrowérand- Lender agree that venue is proper in such courts and each party hereto waives, to the full extent
p cpmitted by applicable law, any defense of an inconvenient forum to the extent any action or proceeding is brought

uch courts.

  

     
 

 

   
 
 

 

‘Without affecting the liability of Borrower or any Guarantor, Lender may accept partial payments marked “in full?
or otherwise, release or impair any Collateral or agree not to sue any party liable on this Loan Agreement without
waiving any of its rights hereunder.

{f) Presentment, protest, demand and notice of dishonor are waived.

(2) Without affecting the liability of any Guarantor, Lender may from time to time, without notice, renew or extend the
time for payment.

(hb) Borrower expressly agrees that ihe interest rate set forth above in Section 2 is appropriate under the circumstances
and shall be the applicable rate at which unpaid Principal (and Costs, as defined below) shall bear interest under this
Loan Agreement, notwithstanding any rate of interest prescribed by statute from time to time; provided, however, if
fulfillment of any provisions of this Loan Agreement or any other instrument securing the Obligations is subject to a
law that sets maximum interest rates or other charges, and that law is finally interpreted so that the interest or other
fees collected or to be collected in connection with this Loan Agreement exceed the permitted limits, then

G) any such charge will be reduced by the amount necessary to reduce the charge to the permitted limit;

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Revision Date: August 2018.a

 
 

 

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(i) any sums already collected from Borrower that cxeeed the permitted limits will be refunded or credited to
Borrower; and

(if} the obligations created by this Loan Agreement shall be fulfilled to the limit of such validity as is permitted
by law.

Gi} Borrower shall keep the Collateral and Lender’s interest in it insured under policies with such provisions, for such

amounts and by such insurers as shall be satisfactory to Lender from time to time, and shall furnish evidence of such
insurance salisfactory to Lender upon request. Borrower assigns {and directs any insurer to pay) to Lender the
proceeds of all such insurance and any premium refund and authorizes Lender to endorse in the name of Borrower
any instrument for such proceeds or refunds and, at the option of Lender, to apply such proceeds and refunds to any
unpaid balance of the Obligations, whether or not due, and/or to restoration of the Cellateral, retarning any excess to
Borrower. Lender is authorized, in the name of Borrower or otherwise, to make, adjust and/or settle claims under
any insurance on the Collateral, or cancel the same after the occurrence of an Event of Default.

(j) If Borrower fails to perform any of Borrower’s duties set forth in this Loan Agreement or in any evidence of or

document relating to the Obligations, Lender is authorized, in Borrower’s name or otherwige to ths ony such
action, including, without limitation, signing Borrower’s name or paying any amount so Gite anil the cost
(“Cost”) shall be one of the Obligations secured by this Loan Agreement and shall bs pevable SV Bern er upon
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Lender’s demand with intcrest at the interest rate set forth above in Section 2 fromahe Sof pa nae

 

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Loan Agreement, except Lender’s willful mhiseondvct

of any other Provision.

(I) lnvalidity or unenforceability of any provision of this Loan = shel e (iffect the Pl ¢ enforceability
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cd successors and assigns, and

 

(o) Borrower acknowledges that a broker may: flee recerved coder tion in connection with this Loan Agreement.

a Guarantor may choose to atitile any or all disputes and claims arising out of or
hia aanty or any other related document. A claim includes matters arising a as an

 

imitial claim, counter isin $
chooses to litigate Gn ’ dispute pn claim arising out of or relating to this Loan Agreement, the Guaranty or any related
document through Ailudicial é¢ton, the decision to litigate shall not be deemed a waiver of arbitration, and if such
judicialactio ne parry party may thereafter invoke its arbitration rights at any time before any discovery is
¢ If the Borrewer, Lender or a Guarantor secks to have a dispute resolved by arbitration,
nt SSO the other party(ies) by certified mail, a written Notice of Intent to Arbitrate. If
er, Lender p a Gilhfantor do not reach an agreement to resolve the claim within 10 days after the Notice is
any party may commence an arbitration, proceeding with the Amencan Arbitration Association (“AAA”).
‘ ai’

Lende Swill profpptly reunburse Borrower or the Guarantor any arbitration filing fee, however, if both the Borrower
ang he | Citator must pay arbitration filmg fees, Lender will only reimburse the Borrower's arbitration filing fee
ant except as provided in the next sentence, the Lender will pay all arbitration administration and arbitrator fees. If

  

    
  
 
   
  

    

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ih hé’arbitrator finds that either the substance of any claim raised by Borrower or a Guarantor or the relief sought by

Borrower or a Guarantor is improper or not warranted, as measured by the standards set forth in Federal Rule of
Procedure 11(b), then Lender will pay the administration or arbitrator fees only if required by the AAA Rules. Ifthe
arbitrator granis relief to the Borrower or a Guarantor that is equal to or greater than the value of the relief requested
by the Borrower or a Guarantor in the arbitration, Lender shall reimburse Borrower or the Guarantor, as applicable,
for that party’s reasonable attorneys’ fees and expenses incurred for the arbitration. TO THE EXTENT NOT
PROHIBITED BY APPLICABLE LAW, BORROWER AND LENDER AGREE THAT BY ENTERING INTO
THIS LOAN AGREEMENT, EACH IS WAIVING THEIR RIGHT TO A TRIAL BY JURY OF ANY CLAIM OR
CAUSE OF ACTION BASED UPON, ARISING OUT OF OR RELATED TO THIS LOAN AGREEMENT AND
ALL OTHER DOCUMENTATION EVIDENCING THE OBLIGATIONS, IN ANY LEGAL ACTION OR
PROCEEDING. BORROWER AND LENDER MAY BRING CLAIMS AGAINST ANY OTHER PARTY ONLY
IN THEIR INDIVIDUAL. CAPACITY AND NOT AS A PLAINTIFF REPRESENTATIVE OR CLASS MEMBER
IN ANY PURPORTED REPRESENTATIVE OR CLASS PROCEEDING; PROVIDED, THAT, BORROWER
MAY BRING A CLAIM FOR PUBLIC INJUNCTIVE RELIEF TO THE EXTENT REQUIRED BY
APPLICABLE LAW. Further, Borrower and Lender agree that the arbitrator may not consolidate proceedings for

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more than one person’s claims, and may not atherwise preside over any form of a representative or class proceeding,
and if this specific provision is found unenforceable, then the entirety of this arbitration clause shall be mull and
voi. Any award by the individual arbitrator shall be final and binding, except for any appea) night under the
Federal Arbitration Act (“FAA"), and may be entered and enforceable as a judgment in any court of competent
jurisdiction, including as a judgment that permits Lender to initiate or complete the exercise of its remedies against,
or its realization or foreclosure upon, any collateral or security provided for the benefit of Lender. This arbitration
provision is made pursuant lo a transaction in interstate commerce, and shall be governed by the FAA at 9 U.S.C.
section | ef seq.

In order to ensure a high quality of service for Lender’s customers, Lender may monitor and/or record telephone
calls between Borrower and Lender’s employees. Borrower acknowledges that Lender may do so and agrees in
advance to any such monitoring or recording of telephone calls.

Borrower authorizes Lender and Lender’s affiliates, agents and independent contractors, including any lean
servicers cr collateral agents to contact Borrower at any telephone number Borrower provides to ree or. from
which Borrower places a call to Lender, or any telephone number where Lender believes it may reach Borrower,
using any means of communication, including, but not limited to, calls or text messages to mo ile, collude wireless
or similar devices or calls or text messages using 8 an automated telephone dialing system and sh i 1s oices oF

  
 
 
 
 
  

[reserved]. <2
This Loan Agreement may be executed in one or more countess
be an original, and all such counterparts shall constifiite one and:
of this Loan Agreement, electronic or fax si

   
    
  

agreements, instruments and other docu Thee imittion, any ‘Guaranty and any financing and
continuation statements, hen a ehtry dorms 18 H ortgages, deeds of trust and other documents filed or recorded in order
inue’, eee rity interest in and lien on the Collateral or any other personal property

  
      
   

 

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; approved bk Lender m connection with the business loan and other Obligations
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evidenced by this le
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 ommitnente, agreements and understandings, written or ir oral, between or among said

iniéach case, with respect to the subject matter of this Loan Agreement and the other Loan
ee avoiddnce of doubt, no promises, representations or obligations exist between or among said
e subject m matter of this Loan Agreement and the other Loan Documents exCeP as as provided

   

 

     
 

upon ar ‘Pepreseatation, warranty or undertaking of Lender or any ‘other. person or entity.

[Remainder of page is blank. Signature page follows.]

Revision Date: August 2018.a

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BEFORE SIGNING THIS LOAN AGREEMENT, BORROWER READ AND UNDERSTOOD ALL OF THE PROVISIONS
HEREOF, AFTER DUE CONSIDERATION AND THE OPPORTUNITY TO CONSULT WITH OTHER LENDERS (OR
OTHER FINANCING SOURCES) AND WITH AN ATTORNEY, ACCOUNTANT OR OTHER COMPETENT
PROFESSIONAL OF ITS CHOICE, BORROWER KNOWINGLY, WILLFULLY AND VOLUNTARILY AGREES TO
THE TERMS OF THIS LOAN AGREEMENT.

BORROWER ACKNOWLEDGES RECEIPT OF A FULLY COMPLETED AND EXECUTED VERSION OF THIS LOAN
AGREEMENT.

BORROWER: Harbor Park Realty, LLC

Docedigned by:

Sato Vo dowd

SEBERSATDDADAS2...
Jacob V. Adoni

Signature:

 

  
 
  
  
  
 
 
 
 
    
 

Printed Name:

 

Title: Manager

 

Date; _ 7/22/2019

 

STATE/COMMONWEALTH OF

COUNTY OF

 

, before me, the undersigned, a notary public in and for said

 

, personally known to me or proved to me on the basis of

 

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satisfactory evidence tobe thes

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My commission expires:

 

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Revision Date: August 2018.a

 
 

 

 

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SCHEDULE D

ADDRESS OTHER THAN BORROWER’S ADDRESS AT WHICH COLLATERAL IS KEPT

 

“Property Address

  

 

19 Chestnut Hill Drive, Oyster Bay, NY 1177!

 

 

 

 

 
 

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CONTINUING GUARANTY, PERSONAL (Unlimited) (“Guaranty”)
Dated: 2/22/2019

GUARANTY. For value received, and to induce Axos Bank®, its successors and/or assigns (“Lender”), with offices at 9205 West
Russell Road, Suite 400, Las Vegas, NV 89148 to extend credit or grant or continue other credit accommodations to Harbor Park
Realty, LLC (“Borrower”), the undersigned (“Guarantor,” whether one or more) jointly and severally guarantees payment of the
Obligations (defined below) when due or at the time any Borrower becomes the subject of bankruptcy or other insolvency
proceedings. Except as provided below, “Obligations” means all debts, obligations and liabilities of Borrower to Lender arising out of
eredit previously granted, credit contemporaneously granted or credit granted in the future by Lender to Borrower. Obligations
include (a) interest, (b) charges, (c) the amount of payments made either to Lender or to another for Lender’s benefit, either by or on
behalf of Borrower which are recovered from Lender by any party (including, but not limited to, a trustee, recciver or creditor)
pursuant to applicable federal or state law, and (d) all costs, expenses and attomeys’ fees (“Collection Expenses”) at any time paid or
incurred (whether before or after judgment) in endeavoring to collect all or part of the Obligations, or to realize upon (i) this Guaranty,
(ii) any other guaranty of the Obligations, or (iti) any collateral securing any of the Obligations, including those Collectigh Expenses
which are either (v) incurred in a successful defense or settlement of any counterclaim brought by Borrower or Guarantor or (w}
incident to any action or proceeding involving Borrower or Guarantor brought pursuant to the United Staté Bein Code.
Obligations do not include amounts owed in satisfaction of money loaned for the purpose of funding Ps rsonal, oneh ery amily or
houschold transactions. Guarantor grants to Lender a security interest and Hen in any credit balangesar ai other 7 r¢ iGpey Row vi wing or
hereafter owed Guarantor by Lender. Lender may, at any time after the occurrence of an event of a a reveeyito any

perenne without prior notice or demand, set off against any such credit balance or ogee any at ee owing lipon tt the

   
      

      

   
 
  
   

 

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ty, the cFéation SP a any present or future Obligation,
else, (b) all’ iligence of collection and presentment,
i he financial condition of the Borrower or the

 

   
 

 

demand, notice and protest, (c) any right to disclosures bm Lender regarding
enforceability of the Ob! ipatlons, and ~~ all other: ih

 
      
  
 
   
 
 

lions or against the Borrower shall be enforced. or any payment accepted
ts to or ¢ vections by Lender are subject to any right of recovery.

ns, Lender may from time to time before or after revocation of this Guaranty without
a @ liability of Guarantor (a) surrender, release, impair, sell or otherwise dispose of any
security or collateral for the Obli gato uss )yetease of agree not fo sue any guarantor or surety, (c) fail to perfect its security interest in
or realize ypon any Seeurity or a (@fal to realize upon any of the Obligations or to proceed against any Borrower or any

renew or extend ie time of payment, (1) increase or decrease the rate of interest or the amount of the
<additional , decurity or collateral, (h) determine the allocation and application of payments and credits and
i ply’ ‘the proceeds of disposition of any collateral for the Obligations to any obhgation of Borrower
literal in such order and amounts as it elects, (j) determine what, if anything, may alt any time be done with
re ference any see ity or collateral, and (k) settle or compromise the amount due or owing or claimed to be duc or owing from the
Borrowers) vin ttlement or compromise shall net affect Guarantor’s liability for the full amount of the unpaid Obligations.
Guarantor expressly consents to and waives notice of all of the above. Guarantor consents to and authorizes Lender to obtain business
and personal credit bureau reports in Guarantor’s name, at any time and from time to time for purposes of deciding whether to approve
the business loan requested by Borrower or for any update, renewal, extension of credit to Borrower or other lawful purpose.
Guarantor expressly authorizes Lender, agents or designees to report the payment history and loan performance to any national credit
bureau for the purpose of inclusion of the related data in Guarantor’s consumer credit report. Nothing contained in this Guaranty shall
require Lender to first seek or exhaust any remedy against Borrower or to first proceed against any collateral or security for any of the
Obligations or this Guaranty.

PERSONS BOUND. This Guaranty benefits and is enforceable by Lender, and its successors and assigns (collectively called
“successors” and each a “successor™), and binds Guarantor, and Guarantor’s heirs, personal representatives, successors and assigns.
This Guaranty shall continue in full force and effect notwithstanding any change in structure or status of Borrower or Lender, whether
by merger, consolidation, reorganization or otherwise, or assignment of this Guaranty to a successor Lender.

 

  
 
 
  
  

 

  
  

ENTIRE AGREEMENT. This Guaranty, together with all agreements, instruments and other documents between Lender and
Guarantor or related to this Guaranty (collectively, “Guaranty Documents”), is intended by Guarantor and Lender as a final expression

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Revision Date: August 2018.a

 
 

FILED: SUFFOLK- COUNTY -GLERK LOAL8S/ 2049. 1i035) AM ANNEX NOY 82.9617/2019

 

 

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of this Guaranty and as a complete and exclusive statement of its terms, there being no condition to the full effectiveness of this
Guaranty. For the avoidance of doubt, with respect to the subject matter of this Guaranty, the Guaranty Documents constitute the
enlire understanding and agreement between Lender and Guarantor and no promises, representations or obligations exist between
Guarantor and Lender, except as provided herein, and Guarantor has not entered into this Guaranty in reliance upon any
representation, warranty or undertaking of Lender or any other person or entity. This Guaranty may not be supplemented or modified,
except in writmg by Lender.

REPRESENTATIONS. Guarantor acxnowledges and aprees that Lender (a) has not made any representations or warranties with
respect to, (>) does not assume any responsibility to Guarantor for, and (c} has no duty to provide information to Guarantor regarding,
the enforceability of any of the Obligations or the financial condition of the Berrower. Guarantor has independently determined
the creditworthiness of Borrower and the enforceability of the Obligatiens and until the Obligations are paid in full will
independently and without reliance on Lender continue to make such determinations.

REVOCATION. This is a continuing guaranty and shall remain in full force and effect uml Lender receives written notice of its
revocation signed by Guarantor or actual notice of the death of Guarantor. Upen revocation by written notice. or actual notice of
death, this Guaranty shall continue in full force and effect as to all Obligations contracted for or incurred before revocation;
them, Lender shall have the rights provided by this Guaranty as if no revocation had occurred. Any renewal, exfension or
the interest rate of any such Obligation, whether made before or afler revocation, shall constitute an Obligat onto ntragied for or
incurred before revocation. Obligations contracted for or curred before revocation shall also include cfedit exteliled sfler Te ocation
pursuant to commitments made before revocation. Revocation by one Guarantor shall not affect aot thehabilities or ob
any other Guarantor and this Guaranty shall continue in full force and effect with respect to th¢ “DB er

  

 

  

   

     
 

 

ARBITRATION. Any of the Borrower, Lender or a Guarantor may choose to ary ‘Dall digyite’ and cldis\arising out of or
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relating to this Guaranty or any other rclated document. A claim includes matt@rs all ng asdfitiitial claim, coun er-claim, cross-
claim, third-party claim, or otherwise. Ifthe Borrower, Lender or a Guarantor chysees Ig. itigat any disputé.or claim arising out of or
relating to this Guaranty or any related document through a judicial action, the Wecisiont litigate shallot be deemed a waiver of

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arbitration, and if such judicial action is contested, any party may ‘ti¢reafter invoke its*arbitralion rights at any time before any

discovery is taken in the judicial action. If the Borrower, Lefder or a Guarantor Seeks to h8V8 a dispute resolved by arbitration, that
Nelle of Intent to Arbitrate. If Borrower, Lender or

    

   

party must first send to the other party or parties by certified mail, a writtemNo
Guarantor do not reach an agreement to resolve the claim pithin 10 days after RE Notice is received, any party may commence an
arbitration proceeding with the American ArbitratignAssdeiation (“AAA”) Lender will promptly reimburse Borrower or the
Guarantor any arbitration filing fee, howeser, ah he even hat both the Borrower and the Guarantor nust pay arbitration filing fees,

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Lender will only reimburse the BorréWer's arbitration filing fe and, except as provided in the next sentence, the Lender will pay all

 
     
  

  
   

ee 5 y ee :
Federal Rule of Procediiré 1 1b) der will pay the administration and arbitrator fees only if required by the AAA Rules. Ifthe

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arbitrator grants reliefto the Borrov ek or'4 Guarantor that is equal to or greater than the value of the relief requested by the Borrower

  

 

or a Guar in the \arbitration, Lender shall reimburse Borrower or the Guarantor, as applicable, for that party’s reasonable
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ay sy” dnd expenses ince for the arbitration. TO THE EXTENT NOT PROHIBITED BY APPLICABLE LAW,

 

 

   
 

GUARANTOR AND CEN (GREE THAT BY ENTERING INTO THIS GUARANTY, EACH IS WAIVING THEIR RIGHT
TO TRIAL BY JURY. ANTOR AND LENDER MAY BRING CLAIMS AGAINST ANY OTHER PARTY ONLY IN
. Re INDIVIDUAL CAPACITY AND NOT AS A PLAINTIFF REPRESENTATIVE OR CLASS MEMBER IN ANY
D REPRESENTATIVE OR CLASS PROCEEDING. Further, Guarantor and Lender agree that the arbitrator may not

‘proceedings for more than one person’s claims, and may not otherwise preside over any form of a representative or class
proceeding, and if this specific provision is found unenforceable, then the entirety of this arbitration clause shall be null and void.
Any award by the individual arbitrator shall be final and binding, except for any appeal nght under the Federal Arbitration Act
(“FAA”), and may be entered and enforceable as a judgment in any court of competent jurisdiction, including as 4 judgment that
permits Lender to mitiate or complete the exercise of its remedies against, or its realization or foreclosure upon, the Collateral, This
arbitration provision is made pursuant to a transaction in interslate commerce, and shall be governed by the FAA at 9 U.S.C. section |
et seg.

INTERPRETATION. Lender is an FDIC insured federal savings association. CONSEQUENTLY, THIS GUARANTY WILL BE
GOVERNED BY FEDERAL LAW APPLICABLE TO AN FDIC INSURED INSTITUTION AND TO THE EXTENT NOT
PREEMPTED BY FEDERAL LAW, THE LAWS OF THE STATE OF NEVADA WITHOUT REGARD TO CONFLICT OF LAW
RULES. The legality, enforceability and interpretation of this Guaranty and the armounts guaranteed will be governed by such laws.

   

JURISDICTION. Guarantor irrevocably consents with respect to any suit, action or proceeding relating to this Guaranty or any of the
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other loan documents relating to the Obligations, that venue shall be im the state (or commonwealth, as the case may be) of Borrower's

principal place of business (“Borrower’s State”) and Guarantor waives personal service of process and agrees that a summons and

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complaint commencing an action or proceeding in any such court shall be properly served and confer personal juriscdiction if served by
registered or certified mail to Guarantor at the address specified by Guarantor above, or as otherwise provided by the laws of the
Borrower's State or the United States of America. Guarantor agrees that venue is proper in such courts and waives, to the full extent
permitted by applicable law, any defense of an inconvenient forum to the extent any suit, action or proceeding is brought in such
courts.

VALIDITY. This Guaranty is valid and enforceable against Guarantor even if any Obligation is determined to be invalid or
unenforceable against the Borrower.

 

SBStPP
Revision Date: August 2018.

 
 

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GUARANTOR KNOWINGLY AND VOLUNTARILY WAIVES TRIAL BY JURY IN ANY ACTION,
PROCEEDING, CLAIM OR COUNTERCLAIM BASED UPON, ARISING OUT OF OR IN ANY WAY
RELATING TO THIS GUARANTY, THE OBLIGATIONS GUARANTEED BY THIS GUARANTY OR ANY
CONDUCT, ACT OR OMISSION OF LENDER, AND AGREES AND CONSENTS THAT ANY SUCH
ACTION, PROCEEDING, CLAIM OR COUNTERCLAIM SHALL BE DECIDED BY TRIAL TO THE
COURT WITHOUT A JURY. GUARANTOR ACKNOWLEDGES AND UNDERSTANDS THAT THIS
WAIVER AND CONSENT CONSTITUTES A MATERIAL INDUCEMENT TO LENDER TO ENTER INTO
THE TRANSACTION WITH THE BORROWER.

 
   
  

Guarantor Jacob V. Adoni

OoeuSigned by: .
Jatel V, Adowi

SEBEREATODADAS 2...

 

 

 

 

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Revision Date: August 2018.4

 
 

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Signature Page of Jacob V. Adoni for Continuing Guaranty, Personal (Uniimited)

 

NOTICE TO GUARANTOR

You are being asked to guarantee the past, present and future Obligations of Borrower. If Borrower does not pay, you will have
to. You may also have to pay collection costs. Lender can collect the Obligations from you without first trying to collect from
Borrower or another guarantor or proceeding against any collateral or other security for the Obligations.

 

 

 

(Guarantor Name) Jaceb Nv: Adoni

 

 

    
    

uSigned by:
(Guarantor Signatur Jacob V. kdowi
BEBRRRATDOALESE

ACKNOWLEDGEMENT

STATE/COMMONWEALTH OF )
) 88. e

COUNTY OF ) /
Onthe dayof , in the year , before me, the undeiened, a to a notary pubs in agd-for - said State/Commonwealth,

personally appeared iacob V. Adoni, personally k mown to mejor proved i Big on the basis of ‘Satisfactory evidence to be the individual
whose name is subseribed to the within Continuing Guaranty, (Unhmited) and eimIpy ywledged to me that she/he executed the same m
her/his capacity, & and that by her/his signature | ott the Contintiit g uaranty (Untiies), ihe individual, or the person upon behalf of

      
 

 

Notary Public

My Commission expires:

Signature Page for Continuing Guaranty, Personal (Unlimited)

 
 

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EXHIBIT 1
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Exhibit | to Continuing Guaranty, Personal (Unlimited)

 
 

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BANK

COOPERATION AGREEMENT
DATE: 2/22/2019

In connection with the business loan to Borrower evidenced by the Business Promissory Note and Security Agreement of even date
herewith, Borrower hereby aprees:

In the event any further documentation is required by Lender in connection with the loan, Borrower hereby agrees to execute such
documentation, mcluding, but not limited to, any amendments, corrections, deletions or additions to the loan documents being
executed on even date herewith.

In the event Borrower is required to furnish such necessary documentation and fails to do so within 10 days from receipt of written
demand, then such failure shall be an event of default under the terms of the loan and Lender or its successors and assigns shall have
the right to demand payment in full under the loan documents and enforce all other rights against Borrower.

The terms “Borrower” and “Lender” have the sarne meanings as set forth in the Business Promissory Note and Security Agreement.

   
 
  
 
 
  
 
 
 
   
 

BORROWER: Harbor Park Realty, LLC

DocuSigned by:

Signature: Jatol V, Lowi

GESSSBA 7DDAD462..,

. Jacob V. Adoni
Printed Name:

 

Title: Manager

 

2/22/2019
Date: fee}

 

STATE/COMMONWEALTH OF

COUNTY OF

On the , before me, the undersigned, a notary public im and for said

personally known to me or proved to me on the basis of satisfactory evidence

  

to be the’i Saal ue name is § bocribed to the within Cooperation Agreement and acknowledged to me that she/he executed the

of , and that by her/his signature on the Cooperation

 

 

Notary Public

My commission expires:

 

SBStPP
Revision Date: August 2018.a

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CERTIFICATION REGARDING BENEFICIAL OWNERS OF
LEGAL ENTITY CUSTOMERS

I. GENERAL INSTRUCTIONS

What is this form?

 

re VE

Requiring > the disclosure of key individvals Who | own or cont a oo a i“

   

   

Who has to complete this form?

 

“
€ person open, ya ne w accOunt on behalf of a legal
ais: (i) a bank or credit union; (11)
mutual fund: (iv) a futures commission merchant;

oke in conti lodities.

    
  
  

This form must be completed by th

‘8

For ee 28 this fe orm, a legal entity includes a corporation, limited liability

coy pny or “other & ye that is created by a filing of a public document with a Secretary
atc or sim offig ie, a 1 general pacinersitPs and any simoilar business entity formed in

BRS

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“the Ohi

Pro) reteships, ‘unincorporated associations, or natural persons opening accounts on their

   
   

 

This form requires you to provide the name, address, date of birth and Social Security
number (or passport number or other similar information, in the case of foreign persons)
for the following individuals (.e., the beneficial owners):

() Each individual, if any, who owns, directly or indirectly, 25 percent or more of
the equity interests of the legal entity customer (e.g., each natural person that
owns 25 percent or more of the shares of a corporation); and

emsicioaet

Revision Date: October 2018

 
 

 

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(i) An individual with significant responsibility for managing the legal entity
customer (e.g., a Chief Executive Officer, Chicf Financial Officer, Chief
Operating Officer, Managing Member, General Partner, President, Vice President,
or Treasurer).

The number of individuals that satisfy this definition of “beneficial owner” may vary.
Under section (i), depending on the factual circurnstances, up to four individuals (but as
few as zero) may need to be identified. Regardless of the number of individuals
identified under section (1), you must provide the identifying information of one .

individual under section mn (8). Ibis possible | that i in some circumstances the same

 

Jacob ¥. Adoni, Member

 

b. Name and Address of Legal Entity for Which the Business Loan is Being Opened:

Harbor Park Realty, LLC / 1019 Fort Salonga Rd. STE. 1/2 Northport, NY 11768

 

Revision Date: October 2018

 
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é,
through any contract, ar rangement, nna ‘relationship o or otherwise. wWRS
25 percent or more of the equity interests of the legal entity listed above:

 

   
 
  
 
 
 

Section C:
Name  ——-Dateof Address For US. For Foreign Percentage of
Birh (Residential or Persons: Social | Persons: Passport Ownership: For
| Business Street 9 Security Number Number and each p76 arson party
Address) s)
Country of @ the transaction

Issuance, or oth

 

 

1019 Fort Salonga
Rd. STE. 1/2
Northport, NY
11768

 

“Jacob Vi Acer:

 

 

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dy a he fo Towin ng information for ene individual with significant responsibility for
maging the legal entity listed above, such as:

An executive officer or senior manager (e.¢., Chief Executive Officer, Chief
Financial Officer, Chief Operating Officer, Managing Member, General
Partner, President, Vice President, Treasurer); or

~ Any other individual who regularly performs similar functions

(if appropriate, an individual listed under section (c) above may also be listed

in this section (d)).

Revision Date: October 2018

 
 

 

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Section D:

te teke ae eR At

 

Name

Date of

Birth

Address
(Residential or
Business Street

Address)

For U8.
Persons: Social
Security Number

 

 

Jaceb V. Adoni

 

_ Northport, NY

1019 Fort Salonga
Rd. STE. 112

11768

 

For Foreign
Persons: Passport
Number and
Country of

Issuance, OL, ORE
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Himbe”

 

 

Percentage of
Own ship: For
ekson party

   
 

 

   
 

  

 

 

 

 

 

 

 

 

 

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I, Jacob V. Adoni (vame of natural person opening account), hereby certify, to the
best of my knowledge, that the information provided above is complete and correct.

DecuSigned by:

Signature: Jatel Vv idowi Date:

BSERBAUATDOADSSL.. 2722/2019

 

  
  
   
  

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In lieu of a passport number, foreign persons may also provide an alien
: . sie
card number, or number and country of issuance of any other governit:

document evidencing nationality or residence and bearing a p Be
safeguard. i eh
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Legal Entity Identifier (TIN)

Revision Date: October 2018

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PREPAYMENT DISCLOSURE
LOAN INFORMATION

Date of Loan: 2/26/2019
Loan Maturity Date: 8/23/2019

   
 
 

LoanNumber: _ 31373
Business Name: Harbor Park Realty, LLC
Loan Amount: §90,000.00

PREPAYMENT DISCLOSURE SUMMARY

 
 
    
 
 
 
     

and you must meet other conditions in order to prepay.

if you elect to prepay your loan, your loan requires a Prepayment!
interest, and other charges due at the time of pay off.

 

 

     

The Prepayment Premium is calculated based: f one of th OHI oO

F we

 
  
   
   
 

The Prepayment,Premium ig ‘calculated iby comparing the greater of:

paid principal es date of the prepayment.

8 fOr example, if you still have $200,000 in unpaid principal an your loan, 15% of
a would be $30,000.

 

“Ore gi eater, the remalning interest you would have paid on the loan thraugh the loan
& maturity date [or earlier date, provided Borrower has not missed any payments/had any
mo ACHs returned prior to such date (such date, an “Approved Earlier Date”).]

e For example, if you still have remaining interest payments of $50,000 through
the maturity date of the loan [or an Approved Earlier Date, as applicable}, then
the prepayment premiurn would be $59,000.

Borrower: Harbor Park Realty, LLC

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Revision Date October 1, 2018

 
 

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Printed Name: Jacob v. Adoni

Title. Manager

 

2019

Read, acknowledged and accepted on: This Day 22 of Month 2 of Year

 

Revision Date October 1, 2018

 
 

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SERVICING DISCLOSURE NOTICE

LOAN INFORMATION

Date of Loan: 26/2019

Loan Number: 31373

Lender: Axos Bank®, its successors and/or assigns
Borrower: Harbor Park Realty, LLC

Servicer: World Business Lenders, LLC

Servicer’s Address: 101 Hudson Street, 33'¢ Floor, Jersey City, NJ 07302

NOTICE OF LOAN SERVICING RIGHTS
The purpose of this notice is to inform you that, as of the date see
Business Lenders, LLC, will be servicing your loan and will have the cri

your loan terms or conditigiis’ will
that you keep a copy of thy notic

 
   
  

 

"€ number for World Business Lenders is 800-432-9359, If you have any questions
ng servicing of your loan, call World Business Lenders toll-free at 800-432-9359 between 9
“and6 p.m. Eastern Standard Time, Monday through Friday.

Address for Correspondence (other than payments)
The address to send written correspondence to World Business Lenders, LLC, (other than payments} is:

World Business Lenders, LLC
101 Hudson Street, 33'¢ Floor
Jersey City, NJ 07302

Revision Date October 1, 2018

  
   
    
   
   
 
    
   

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EXHIBIT “C”
 

  

NYSCEF DOC. NO.

INDEX NO. 620617
Page 49 of 78 Pagel elD #: 54
RECEIVED NYSCEF: 10/18

““** Electronically Filed Document ****

Instrument Number: 2019-22285

Recorded As: EX-MO1 - MORTGAGE

Recorded On: March 13, 2019

Recorded At: 40:31:38 am Receipt Number:
Number of Pages: 30 Processed By:
Book-VI/Pg: Bk-M VI43339 Pg-550

Total Rec Fee(s): $1,405.00

** Examined and Charged as Follows **

01 - MORTGAGE $196.00 EX-Blocks - Mortgages - $300

Tax Amount ConsidAmt RS#CS#

Tax-Mortgage $915.00 $90000.00 DJ 33415
OYSTER BAY
Tax Charge: $915.00

Property information:
Section Block Lot Unit Town Name

 

24 E 1043 OYSTER BAY

1398334
0071 DMF

$ 300.00

Basic

Local NY CITY
Additional MTA

Spec ASST

Spec ADDL SONYMA
Transfer

 

$ 450.00
$ 0.00
$ 240.00
$ 225.00
$ 6.00
$0.00

setaeeeese*eT HIS PAGE IS PART OF THE INSTRUMENT “*****"****

Any provision herein which restricts the Sale. Rental or use of the described REAL PROPERTY
because of color or race is invalid and unenforceable under federal law.

 

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County Clerk Maureen O'Connell
 

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NYSCEF DOC. NO. 4 RECEIVED NYSCEF: 10/18/2019

 

JACOB ADONI A/K/A JACOB V, ADONI
Mortgagor

and

Axos Bank
Mortgagee

 

MORTGAGE, ASSIGNMENT OF LEASES AND RENTS
AND SECURITY AGREEMENT
$96,000.00

 

Dated: As of 2/22/2019

Property Location: 19 Chestnut Hill Drive, Oyster Bay, NY 11771
Block: 24
Lot: 1043
County: Nassau

DOCUMENT PREPARED BY AND WHEN RECORDED, RETURN TO:

World Business Lenders, LLC
10 Hudson Street, 33 Floor
Jersey City, New Jersey 07302

 

Borrower: Harbor Park Realty, LLC
 

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MORTGAGE, ASSIGNMENT OF LEASES
AND RENTS AND SECURITY AGREEMENT

THIS MORTGAGE, ASSIGNMENT OF LEASES AND RENTS AND SECURITY
AGREEMENT (this “Mortgage”), made as of February 26, 2019 (the “Effective Date”), by Jacob
Adoni A/K/A Jacob V. Adoni, having an address at 19 Chestnut Hill Drive, Oyster Bay, NY
11771 ("Mortgagor"), to Axos Bank, a federal savings bank, with its address at 9205 West Russell
Road, Suite 400, Las Vegas, NV 89148 (together with its successors and assigns, "Mortgagee").

WHEREAS, pursuant to a certain business promissory note and security agreement dated as
of the Effective Date (as amended, modified, restated, consolidated or supplemented from time to
time, the “Loan Agreement’) by Harbor Park Realty, LLC (individually and collectively,
"Borrower") in favor of Mortgagee, the Mortgagee is making a secured commercial loan to
Borrower (the “Loan”). Certain capitalized terms are defined in Article V of this Mortgage. All
other capitalized terms used herein without definition are used as defined in the Loan Agreement.

 

WHEREAS, in consideration for the Loan to its affiliate, Borrower, Mortgagor has
guaranteed Borrower's payment of the Obligations.

NOW, THEREFORE, in consideration of the mutual premises set forth above and for other
good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, it
is agreed as follows:

To secure the payment of all Obligations which may or shall become due under the Loan
Agreement and/or under any of the other documents evidencing, securing or executed in connection
with the Loan (this Mortgage, the Loan Agreement, and such other documents, as any of the same
may, from time to time, be amended, modified, restated, consolidated or supplemented, being
hereinafter referred to, each, as a “Loan Doecumenf’, and collectively as the “Loan Documents”),
including interest and other amounts which would accrue and become due but for the filing of a
petition in bankruptcy (whether or not a claim is allowed against Mortgagor for such interest or
other amounts in any such bankruptcy proceeding) or the operation of the automatic stay under
Section 362(a) of Title 11 of the United States Code (as amended from time to time, the
“Bankruptcy Code”), and the costs and expenses of enforcing any provision of any Loan
Document (all such sums, together with the Obligations, being hereinafter collectively referred to as
the “Debt”), Mortgagor hereby irrevocably mortgages, grants, bargains, sells, conveys, transfers,
pledges, sets over and assigns, and grants a security interest, to and in favor of Mortgagee, WITH
POWER OF SALE, all of Mortgagor’s right, title and interest in and to the following property,
rights, interests and estates (the Premises (as hereinafter defined), the Improvements (as heremafter
defined), and the property, rights, interests and estates hereinafter described being collectively

referred to herein as the “Mortgaged Property”):
(a) the land described in Schedule A attached hereto (the “Premuses”);

(b) all of the building, structures, fixtures and other improvements now or
hereafter located thereon (the “Jmprovements’),
 

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{e) all easements, rights-of-way, strips and gores of land, streets, ways, alleys,
passages, sewer rights, water, water courses, water rights and powers, air rights and development
rights, rights to oil, gas, minerals, coal and other substances of any kind or character, and all estates,
rights, titles, interests, privileges, liberties, tenements, hereditaments and appurtenances of any
nature whatsoever, in any way belonging, relating or pertaining to the Premises and the
Improvements; and the reversion and reversions, remainder and remainders, and all Jand lying in
the bed of any street, road, highway, alley or avenue, opened, vacated or proposed, in front of or
adjoining the Premises, to the center fine thereof; and all the estates, rights, titles, interests, dower
and rights of dower, courtesy and rights of courtesy, property, possession, claim and demand
whatsoever, both at law and in equity, of Mortgagor of, in and to the Premises and the
Improvements and every part and parcel thereof, with the appurtenances thereto;

id) all machinery, furniture, furnishings, equipment, computer software and
hardware, fixtures (including all heating, air conditioning, plumbing, lighting, communications
and elevator fixtures), inventory, materials, supplies and other articles of personal property and
accessions thereof, renewals and replacements thereof and substitutions therefor, and other
property of every kind and nature, tangible or intangible, owned by Mortgagor, or in which
Mortgagor has or shall have an interest, now or hereafter located upon the Premises or the
Improvements, or appurtenant thereto, and usable in connection with the present or future
operation and occupancy of the Premises and the Improvements (hereinafter collectively referred
to as the “Eguipment’), including any leases of, deposits in connection with, and proceeds of any
sale or transfer of any of the foregoing, and the right, title and interest of Mortgagor in and to any
of the Equipment that may be subject to any “security interest” as defined in the Uniform
Commercial Code, as in effect from time to time in the state where the Mortgaged Property is
located (the “UCC”), superior to the Lien of this Mortgage:

{e) all awards or payments, including interest thereon, that may heretofore or
hereafter be made with respect to the Premises or the Improvements, whether from the exercise of
the right of eminent domain or condemnation (including any transfer made in lieu of or in
anticipation of the exercise of such right), or for a change of grade, or for any other injury to or
decrease in the value of the Premises or Improvements:

(f) all leases and other agreements or arrangements heretofore or hereafter
entered into affecting the use, enjoyment or occupancy of, or the conduct of any activity upon or
in, the Premises or the Improvements, including any extensions, renewals, modifications or
amendments thereof (hereinafter each referred to as a “Lease” and collectively referred to as
“Leuses”) and all rents, rent equivalents, moneys payable as damages (including payments by
reason of the rejection of a Lease ina Bankruptcy Proceeding or in lieu of rent or rent equivalents,
royalties (including all oil and gas or other mineral royalties and bonuses), income, fees,
receivables, receipts, revenues, deposits (including security, utility and other deposits), accounts,
cash, issues, profits, charges for services rendered, and other consideration of whatever form or
nature received by or paid to or for the account or benefit of Mortgagor or its, his or her agents or
employees from any and all sources arising from or attributable to the Premises and the
Improvements, or rendering of services by Mortgagor or any of its, his or her agents or employees,
and proceeds, if any, from business interruption or other loss of income insurance (hereinafter

collectively referred to as “Kents”), together with all proceeds from the sale or other disposition

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10/18/2019
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of the Leases and the right to receive and apply the Rents to the full and indefeasible payment of
the Debt;

‘g) all proceeds of and any unearned premiums on any insurance policies
covering the Mortgaged Property, including the right to receive and apply the proceeds of any
insurance, judgments, or settlements made in | ieu thereof, for damage to the Mortgaged Property;

(h) the right, in the name and on behalf of Mortgagor, to appear in and defend
any action or proceeding brought with respect to the Mortgaged Property and to commence any
action or proceeding to protect the interest of Mortgagee in the Mortgaged Property;

@® all deposit accounts and securities accounts (including reserve accounts),
escrows, documents, instruments, chattel paper, claims, deposits and general intangibles, as the
foregoing terms are defined in the UCC, and all franchises, trade names, irademarks, symbols,
service marks, books, records, plans, specifications, designs, drawings. surveys, title Insurance
policies, permits, consents, licenses, manageinent agreements, franchise agreements, contract
rights (including any contract with any architect or engineer or with any other provider of goods
or services for or in connection with any construction, repair or other work upon the Mortgaged
Property), approvals, actions, refunds of real estate taxes and assessments (and any other
governmental impositions related to the Mortgaged Property) and causes of action that now or
hereafter relate to, are derived from or are used in connection with the Mortgaged Property, or the
use, Operation, maintenance, occupancy or enjoyment thereof or the conduct of any business or
activities thereon (hereinafter collectively referred to as the “fntangibles”); and

Gg) all proceeds, products, offspring, rents and profits from any of the
foregoing, including those from the sale, exchange, transfer, collection, loss, damage, disposition,
substitution or replacement of any of the foregoing.

Without limiting the generality of any of the foregoing, in the event that a Bankruptcy Proceeding
is commenced by or against Morigagor, pursuant to Section 552(b)(2) of the Bankruptcy Code,
the security interest granted by this Mortgage shall automatically extend to all Rents acquired by
Mortgagor after the commencement of the proceeding and shall constitute cash collateral under
Section 363(a) of the Bankruptcy Code,

TO HAVE AND TO HOLD the Mortgaged Property unto Mortgagee and its successors
and assigns, forever;

PROVIDED, HOWEVER, these presents are upon the express condition that, upon the
indeteasible satisfaction in full of the Debt provided in the Loan Documents ina timely manner,
these presents and the estate hereby granted shall cease, terminate and be void;

AND Mortgagor represents and warrants to and covenants and agrees with Mortgagee as
follows:

ARTICLE I. MORTGAGOR COVENANTS

f, Payment of Debt _and Incorporation of Covenants, Conditions and Agreements.
Mortgagor shall pay the Debt at the time and in the manner provided in the Loan Documents to

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which it is a party. Ali the covenants, conditions and agreements contained in the Loan Documents
are hereby made a part of this Mortgage to the same extent and with the same force as if fully set
forth herein. No portion of any principal advanced under the Loan is to be used (1) for the purpose
of purchasing or carrying any “margin security” or “margin stock” as such terms are used in
Regulations U and X of the Board of Governors of the United States Federal Reserve System, 12
C.F.R. 221 and 224, as amended from time to time, or (ii) for any purpose other than the conduct
of the Mortgagor’s business in the ord inary course. All sums advanced by Mortgagee under the
Loan. including sums advanced to protect or enhance collateral pledged by Mortgagor or any other
Person, including any individual, as security for the Debt, are advanced solely for the lawful
business purposes of the Mortgagor.

2. Leases and Rents,

(a) Mortgagor does hereby absolutely, unconditionally, and irrevocably assign
to Mortgagee all of Mortgagor’s right. title and interest in all current and future Leases and Rents.
it being intended by Mortgagor that this assignment constitutes a present, absolute assignment, and
not an assignment for additional security only. Such assignment shall not be construed to bind
Mortgagee to the performance of any of the covenants or provisions contained in any Lease or
otherwise impose any obligation upon Mortgagee. Nevertheless, Subject to the terms of this
paragraph, Mortgagee grants to Mortgagor a revocable license to operate and manage the
Mortgaged Property and to collect and receive the Rents. Upon an Event of Default, without the
need for notice or demand, the license granted to Mortgagor herein shall automatically be revoked,
and Mortgagee shall inmediately be entitled to possession of all Rents in Mortgagor’s possession
or control and all Rents collected thereafier (including Rents past due and unpaid), whether or not
Mortgagee enters upon or takes control of the Mortgaged Property. Morigagor hereby grants and
assigns to Mortgagee the right, at its option, upon revocation of the license granted herein, to enter
upon the Mortgaged Property in person, by agent or by court-appointed receiver to collect the
Rents. Any Rents collected and received after the revocation of such license may be applied
toward payment of the Debt in such priority and proportions as Mortgagee in its sole discretion
may deem proper.

(b) Mortgagor shall not enter into, modify, amend, replace, cancel, terminate or
renew any Lease without the prior written consent of Mortgagee.

3. Use of the Mortgaged Property. Mortgagor shall not initiate, join in, acquiesce in
Or Consent to any change in any public or private restrictive covenant, zoning law or other public
or private restriction limiting or defining the uses which may be made of the Mortgaged Property
(or any portion thereof). If, under applicable zoning provisions, the use of the Mortgaged Property
(or any portion thereof) is or shall become a nonconforming use, Mortgagor shall not cause or
permit such nonconforming use to be discontinued or abandoned without the consent of
Mortgagee. Mortgagor shall not (i) change, or permit or suffer to occur any change to, the use of
the Mortgaged Property, (ii) permit or suffer to occur any waste on or to the Mortgaged Property,
or (iii) take any steps to convert the Mortgaged Property to a condominium or cooperative form of
ownership. Mortgagor has, and at all times shall have obtained, all permits, licenses, exeinptions,
and approvals necessary to Occupy, operate, and market the Mortgaged Property, and shall
maintain compliance with al! Legal Requirements applicable to the Mortgaged Property and
necessary for the transaction of its business and operations. No portion of the Mortgaged Property

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has been or will be purchased, improved, equipped or fixtured with or from proceeds of any illegal
activity, and no part of the proceeds of the Loan will be used in connection with any illegal activity.

4. Transfer or Encumbrance of the Mortgaged Property.

{a) Mortgagor acknowledges that (1) Mortgagee has examined and relied on the
creditworthiness and experience of Mortgagor and its Affiliates in owning, operating, and
maintaining properties such as the Mortgaged Property in agreeing to make the Lean, qi)
Mortgagee will continue to rely on Mortgagor’s ownership of the Mortgaged Property as a means
of maintaining the value of the Mortgaged Property as security for the Debt, and (iii) Mortgagee
has a valid interest in maintaining the value of the Mortgaged Property so as to ensure that, should
Mortgagor default in the repayment or other satisfaction of the Debt, Mortgagee can recover the
Debt by a sale or other Transfer of the Mortgaged Property. Mortgagor shall not sell, convey,
alienate, mortgage, encumber, pled ge or otherwise Transfer the Mortgaged Property or any portion
thereof, or suffer or permit any Transfer to occur.

(b) Mortgagee shall not be required to demonstrate any actual impairment of its
security or any increased risk of default hereunder or under the Loan Documents in order to declare
the Debt immediately due and payable upon a Transfer in violation of this Paragraph 4. This
provision shall apply to every sale, conveyance, alienation, mortgage, encumbrance, pledge or
other Transfer of the Mortgaged Property (and every other Transfer) regardless of whether
voluntary or not. Any Transfer made in contravention of this Paragraph 4 shall be null and void
and of no force and effect. Mortgagor agrees to bear and shall pay or reimburse Mortgagee on
demand for all reasonable expenses (including reasonable attorneys’ fees and disbursements, title
search costs, title insurance endorsement premiums, and other related costs) incurred by
Mortgagee in connection with the review, approval and documentation of any Transfer.

5. Taxes. Mortgagor shall pay prior to delinquency all Taxes that are or which may
become a Lien upon or cause a loss in value of the Mortgaged Property or any interest therein.
Mortgagor shall also pay prior to detinquency all taxes, assessments, levies and charges imposed
by any Governmental Authority upon Mortgagee by reason of its interest in the Debt or in the
Mortgaged Property, or by reason of any payment made to Mortgagee on account of the Debt or
any portion thereof: provided, however. Mortgagor shall have no obligation to pay any taxes or
other charges which may be imposed by any Governmental Authority from time to time upon
Mortgagee and which are measured by and imposed upon Mortgagee’s net income.

6. Changes in Legal Requirements Regarding Taxation. Ifany Legal Requirement is
enacted, adopted, or amended after the Effective Date which deducts the Debt from the value of
the Mortgaged Property for the purpose of taxation or which imposes 4 tax, either directly or
indirectly, on the Debt or Mortgagee’s interest in the Mortgaged Property, Mortgagor will pay
such tax, with interest and penalties thereon, if any. If Mortgagee determines that the payment of
such tax or interest and penalties by Mortgagor would be untawful, taxable to Mortgagee or
unenforceable, or would provide the basis for a defense of usury, then Mortgagee shall have the
option, by notice of not less than ninety (90) days, to declare the Debt immediately due and
payable.
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7. No Credits on Account of the Debt. Mortgagor shall not claim or demand or be
entitled to any credit on account of the Debt for any part of the Taxes or Other Charges assessed
against the Mortgaged Property, and no deduction shall otherwise be made or claimed from or
against the assessed value of the Mortgaged Property for tax purposes by reason of this Mortgage
or the Debt. If such claim, credit or deduction shall be required by any Legal Requirement,
Mortgagee shall have the option, by notice of not less than ninety (90) days, to declare the Debt
immediately due and payable.

8. Further Acts. Etc. Mortgagor shall, at its sole cost and expense, perform, execute,
acknowledge and deliver all and every such further acts, deeds, conveyances, mortgages,
assignments, notices of assignment, transfers and assurances (each, an “det or Instrument of
Further Assurance”) as Mortgagee shall, from time to time, require, for the better assuring,
conveying, assigning, transferring, and confirming unto Mortgagee the Mortgaged Property and
rights hereby mortgaged, given, granted, bargained, sold, alienated, enfeoffed, conveyed,
confirmed, pledged, assigned and hypothecated or intended now or hereafter so to be, or which
Mortgagor may be or may hereafter become bound to convey or assign to Mortgagee, or for
carrying out the intention or facilitating the performance of the terms of this Mortgage, or for
filing, registering or recording this Mortgage or for facilitating the sale and Transfer of the Loan
and the Loan Documents. Upon foreclosure, the appointment of a receiver or any other relevant
action, Mortgagor shall, at its sole cost and expense, cooperate fully and completely to effect the
assignment or other Transfer of any license, permit, agreement or any other right necessary or
useful to the ownership, operation, or marketing of the Mortgaged Property. Mortgagor grants to
Mortgagee during the continuance of an Event of Default, an irrevocable power of attorney
coupled with an interest for the purpose of exercising and perfecting any and all rights and
remedies available to Mortgagee at law and in equity, including such rights and remedies available
to Mortgagee pursuant to this paragraph. Said power of attorney will terminate upon the full and
final indefeasible payment of the Debt.

 

9, Recording of Mortgage. Etc. Mortgagor forthwith upon the execution and delivery
of this Mortgage and thereafter, from time to time, shall cause this Mortgage, and any security
instrument creating a Lien or security interest or evidencing the Lien hereof upon the Mortgaged
Property and each Act or Instrument of Further Assurance pursuant to Paragraph 8 hereof to be
filed, registered or recorded in such manner and in such places as may be required by any present
or future Legal Requirement in order to publish notice of, and fully to protect, the Lien hereof
upon, and the interest of Mortgagee in, the Mortgaged Property. Mortgagor shall pay all filing,
registration and recording fees, all expenses incident to the preparation, execution and
acknowledgment of, and all federal, state, county and municipal, taxes, duties, imposts,
documentary stamps, assessments and charges arising out of or in connection with the execution
and delivery of, this Mortgage, any Mortgage supplemental hereto, any security instrument or
evidence of Lien with respect to the Mortgaged Property or any Act or Instrument of Further
Assurance pursuant to Paragraph 8 hereof. except where prohibited by any Legal Requirements to
do so. Mortgagor shall hold harmless and indernnify Mortgagee, its successors and assigns, from
and against any liability incurred by reason of the imposition of any Tax on the making or
recording of this Mortgage. The provisions of this Paragraph 9 shall survive the repayment of the
Debt and the full or partial release or satisfaction of this Mortgage.
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10. Maintenance. Mortgagor covenants: (a) to Insure the Mortgaged Property against
such risks as Mortgagee may require as set forth herein and in the Loan Documents, and to comply
with the requirements of any insurance companies providing such insurance; (b) to keep the
Mortgaged Property in good condition and repair; (c} not to remove or demolish the Mortgaged
Property or any portion thereof. not to alter or add to the Mortgaged Property; (d) to complete or
restore promptly and in good and workmanlike manner the Mortgaged Property, or any portion
thereof which may be damaged or destroyed, without regard to whether Mortgagee elects to require
that insurance proceeds be used to reduce the Debt; (e} to comply with all Legal Requirements and
all covenants, conditions, restrictions and equitable servitudes, whether public or private, of every
kind and character which affeet the Mortgaged Property and pertain to acts committed or
conditions existing thereon, including any work, alteration, improvement or demolition mandated
by such Legal Requirements and covenants; (f) not to commit or permit waste of the Mortgaged
Property; and (g) to do all other acts which from the character, use. or operation of the Mortgaged
Property may be reasonably necessary to maintain and preserve its value.

 

li. Alterations. None of the Improvements or any portion thereof, shall be removed,
altered or demolished without prior written consent of the Mortgagee in each instance, provided,
however, that the Mortgagor shall have the right, without consent of the Mortgagee, to remove and
dispose of, free from the Lien of this Mortgage, such personal property as from time to time may
become worn out or obsolete, provided, that, simultaneously therewith or prior to such removal,
any such personal property shall be replaced by personal property of like kind and value at least
equal to that of the replaced personal property and free of any title retention, security interest or
other encumbrance or Lien.

 

12, Purchase Options. Mortgagor represents and warrants to Mortgagee as of the
Effective Date that neither the Mortgaged Property nor any portion thereof is subject to any
purchase options, rights of first refusal, rights of first offer or other similar rights in favor of any
Person.

13. Title to the Mortgaged Property. Mortgagor is the sole owner of the Mortgage
Property and hereby warrants to and shall defend its title to the Mortgaged Property, and the
validity and priority of all Liens granted or otherwise given to Mortgagee hereunder and/or under
the Loan Documents, against the claims of all Persons.

td. Liens. Without Mortgagee’s prior written consent, Mortgagor shall not create,
incur, assume, permit or suffer to exist any Lien on all or any portion of the Mortgaged Property,
except Liens in favor of Mortgagee.

iS. Insurance.

 

{a) Coverage. Mortgagor shall, while all or any portion of the Debt (including
any Obligation) remains outstanding, maintain at Mortgagor’s sole cost and expense, with licensed
insurers acceptable to Mortgagee, the following Policies in form and substance reasonably
satisfactory to Mortgagee (capitalized terms used in this Paragraph 15 shall have the same meaning
as such terms are commonly and presently defined in the insurance industry):

 

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(@ Property Insurance. An All Risk/Special Form Property Insurance
Policy, including theft coverage and such other coverages and endorsements as Mortgagee
may require, insuring Mortgagee against damage to the Mortgaged Property in an amount
not less than 100% of the full replacement cost of the Improvements. Such coverage should
adequately insure the Mortgaged Property, whether such Morigaged Property or any
portion thereof is onsite, stored offsite or otherwise. During times of construction on the
Mortgaged Property, Mortgagor shall further maintain, or cause each applicable
contractor(s), or subcontractor(s), as applicable, to maintain, a Builders All Risk/Special
Form Completed Value (Non-Reporting Form) Hazard Insurance Policy.

(i) Flood Hazard Insurance. If any portion of the Improvements is
located within a special flood zone or flood-prone area, a Policy of flood insurance, as
deemed necessary by Mortgagee. in an amount required by Mortgagee, but in no event less
than the amount sufficient to meet the requirements of any Legal Requirement,

Gi) Liability Insurance. A Policy of Commercial General Liability
Insurance on an occurrence basis. with coverages and limits as required by Mortgagee,
insuring against liability for injury and/or death to any Person and/or damage to any
property occurring on the Mortgaged Property and/or in the Improvements. During the
period of any approved construction, Mortgagor may cause its contractors and/or
subcontractors to maintain in full foree and effect any or all of the liability insurance
required hereunder. Whether Mortgagor employs a general contractor or performs as
owner-builder, Mortgagee may require that coverage include Statutory workers’
compensation insurance,

 

(b) Other Coverage. Mortgagor shall promptly provide to Mortgagee evidence
of such other Policies in such reasonable amounts as Morigagee may from time to time request
against such other insurable hazards which at the time are commonly insured against for property
similar to the Mortgaged Property located in or around the region in which the Mortgaged Property
is located. Such coverage requirements may include, but are not limited io, coverage for
earthquake, acts of terrorism, toxic mold or fungus of a type that may pose a risk to human health
or the environment or would negatively impact the value of the Property (“ Texte Mola’), loss of
business income, delayed business income, rental loss, sink hole, soft costs, tenant improvements,
or environmental liabilities.

 

(c) Generally. Mortgagor shall, upon request, promptly provide to Mortgagee
insurance certificates or other evidence of coverage in form acceptable to Mortgagee, with
coverage amounts, deductibles, limits and retentions as required by Mortgagee. Alf insurance
policies shall provide that the coverage shall not be cancelable without ten (10) days prior written
notice to Mortgagee of any cancellation for nonpayment of premiums, and not Jess than thirty (30)
days prior written notice (or such longer period as may be required by Legal Requirements) to
Mortgagee of any other cancellation. With respect to any material change or modification of any
Policy (including any reduction in coverage) which change or modification is not provided to
Mortgagee by Mortgagor’s insurance company, Mortgagor shall provide not less than thirty (30)
days (or such longer period as may be required by Legal Requirements) prior written notice to
Mortgagee of such material change or modification. Mortgagee shall be a named additional
insured and shall be named under a Mortgagee’s Loss Payable Endorsement or a Standard

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Mortgagee Clause Endorsement (in form acceptable to Mortgagee) on all Policies required to be
maintained by Morigagor hereunder. All insurance Policies shail be issued and maintained by
insurers approved to do business in the state in which the Mortgaged Property is located and must
have an A.M. Best Company financial rating and policyholder surplus acceptable to Mortgagee.

16. Hazardous Substances,

 

(a) (i) The Mortgaged Property is not in violation of any Environmental Laws,
(it) the Mortgaged Property is not subject to any private or governmental Lien or judicial or
administrative notice or action or inquiry, investigation or claim relating to Hazardous Materials,
(ili) to the best of Mortgagor’s knowledge, after due inquiry, no Hazardous Materials are or have
been (including the period prior to Mortgagor’s acquisition of the Mortgaged Property),
discharged, generated, treated, d isposed of or stored on, incorporated in, or removed or transported
from the Mortgaged Property other than in compliance with all Environmental Laws, (iv) to the
best of Mortgagor’s knowledge, after due inquiry, no Hazardous Materials are present in, on or
under any nearby real property which could migrate to or otherwise affect the Mortgaged Property,
(v) no underground storage tanks exist on the Mortgaged Property and the Mortgaged Property has
never been used as a landfill, and (vi) there have been no environmental investigations, studies,
audits, reviews or other analyses conducted by or on behalf of Mortgagor which have not been
provided to Mortgagee.

(b) Mortgagor shall give prompt written notice to Mortgagee of (i) any
proceeding or inquiry by any Person (including any Governmental Authority) with respect to the
presence of any Hazardous Material on, under, from or about the Mortgaged Property, (ii) all
notices given or claims made or threatened by any Person (including any Governmental Authority)
against Mortgagor or the Mortgaged Property or any Person occupying the Mortgaged Property
relating to any loss or injury resulting from any Hazardous Material: and (iii) Mortgagor’s
discovery of any occurrence or condition on any real property adjoining or in the vicinity of the
Mortgaged Property that could cause the Mortgaged Property to be subject to any investigation or
cleanup pursuant to any Environmental Law. Upon becoming aware of the presence of Toxic
Mold at the Mortgaged Property, Mortgagor shall (i) undertake an investigation to identify the
source(s) of such Toxic Mold and shall develop and implement an appropriate remediation plan to
eliminate the presence of any Toxic Mold, (ii) perform or cause to be performed all acts reasonably
necessary for the remediation of any Toxic Mold (including taking any action necessary to clean
and disinfect any portion of the Mortgaged Property affected by Toxic Mold. including providing
any necessary moisture contro! systems at the Mortgaged Property), and (iii) provide evidence
reasonably satisfactory to Mortgagee of the foregoing. Mortgagor shall permit Mortgagee to Join
and participate in, as a party if it so elects, any legal or administrative action or other proceeding
initiated with respect to the Mortgaged Property in connection with any Environmental Laws or
Hazardous Materials, and Mortgagor shall pay or reimburse, as applicable, all reasonable
allomeys’ fees and disbursements incurred by Morigagee in connection therewith,

3) Upon Mortgagee’s request, at any time and from time to time, Mortgagor
shall provide an inspection or audit of the Mortgaged Property prepared by a licensed
hydrogeologist, licensed environmental engineer or qualified environmental consulting firm
approved by Mortgagee assessing the presence or absence of Hazardous Materials on, In or near
the Mortgaged Property. The costs and expenses Of such audit or inspection shall be paid by

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Mortgagor. Such inspections and audit may include soil borings and ground water monitoring. If
Mortgagor fails to provide any such inspection or audit within thirty (30) days after such request,
Mortgagee may but shall not be obligated to order same at Mortgagor’s sole cost and expense, and
Mortgagor hereby grants to Mortgagee and its employees and agents access to the Mortgaged
Property and a license to undertake such inspection or audit.

(d) If any environmental site assessment report prepared in connection with
such inspection or audit recommends that an operations and maintenance plan be implemented for
any Hazardous Material, whether such Hazardous Material existed prior to the ownership or
acquisttion of the Mortgaged Property by Mortgagor, or presently exists or is reasonably suspected
of existing, Mortgagor shall cause such operations and maintenance plan to be prepared and
implemented at its expense upon request of Mortgagee, and with respect to any Toxic Mold,
Mortgagor shall take all action necessary to clean and disinfect any portion of the Improvements
affected by Toxic Mold in or about the Improvements, including providing any necessary moisture
control systems at the Mortgaged Property. If any investigation, site monitoring, containment,
cleanup, removal, restoration or other work of any kind is reasonably necessary under an applicable
Environmental Law (“Remedial Work”), Mortgagor shall commence all such Remedial Work
within thirty (30) days afier demand by Mortgagee and thereafter diligently prosecute to
completion all such Remedial Work within such period of time as may be required under any Legal
Requirement. All Remedial Work shall be performed by licensed contractor(s) or subcontractor(s)
approved in advance by Mortgagee and under the supervision of a consulting engineer approved
by Mortgagee. All costs of such Remedial Work shall be paid by Mortgagor, including
Mortgagee’s reasonable attorneys’ fees and disbursements incurred in connection with the
monitoring and review of such Remedial Work. If Mortgagor does not timely commence and
diligently prosecute to completion the Remedial Work, Mortgagee may (but shall not be obligated
to) cause such Remedial Work to be performed at Mortgagor’s cost and expense. Notwithstanding
the foregoing, Mortgagor shall not be required to commence such Remedial Work within the above
specified time period: (x) if prevented from doing so by any Governmentat Authority, (y) if
cominencing such Remedial Work within such time period would result in Mortgagor or such
Remedial Work violating any Environmental Law, or (z) if Mortgagor, at its expense and after
prior written notice to Mortgagee, is contesting by appropriate legal, administrative or other
proceedings, conducted in good faith and with due diligence, the need to perform Remedial Work.
Mortgagor shall have the right to contest the need to perform such Remedial Work, provided that,
(1) Mortgagor is permitted by Environmental Laws to delay performance of the Remedial Work
pending such proceedings, (2) neither the Mortgaged Property nor any portion thereof or interest
therein will be sold, forfeited or lost if Mortgagor fails to promptly perform the Remedial Work
being contested, and if Mortgagor fails to prevail in such contest, Mortgagor would thereafter have
the opportunity to perform such Remedial Work, (3) Mortgagee would not, by virtue of such
contest, be exposed to any risk of any civil liability for which Mortgagor has not furnished
additional security, as provided in clause (4) below, or to any risk of criminal liability, and neither
the Mortgaged Property nor any interest therein would be subject to the imposition of any Lien for
which Mortgagor has not furnished additional security as provided in clause (4) below, as a result
of the failure to perform such Remedial Work and (4) Mortgagor shall have furnished to Mortgagee
additional security in respect of the Remedial Work being contested and the loss or damage that
may result from Mortgagor’s failure to prevail in such contest in such amount as may be reasonably
requested by Mortgagee but in no event less than 125% of the cost of such Remedial Work as

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estimated by Mortgagee and any loss or damage that may result from Mortgagor’s failure to prevail
in such contest.

(e) Mortgagor shall not install or permit to be installed on the Mortgaged
Property any underground storage tank.

(h In the event any environmental report delivered to Mortgagee in connection
with the Loan recommends the development of or continued compliance with an operation and
maintenance program for the Mortgaged Property (including with respect to the presence of
asbestos and/or lead-based paint) (°O & M Program’), Mortgagor shall develop (or continue to
comply with, as the case may be) such O & M Program and shall comply in all material respects
with the terms and conditions of the O & M Program.

7. Casualty and Condemnation.

(a) In case of loss or damage by fire or other casualty to the Mortgaged
Property, Mortgagee may, in its sole discretion, settle and adjust any claim under any applicable
Policy or allow Mortgagor to settle such claim. In either event, the Mortgagee shall collect all
Proceeds paid by reason of such loss or damage, and will make such Proceeds available to
Mortgagor for the purpose of restoring, repairing, replacing or rebuilding the Mortgaged Property
(each, following such loss or damage or following any Taking, a ‘“Resteration”; and “Restore”
shall have the correlative meaning) of the Mortgaged Property, subject to the following conditions:

(i the plans and specifications for the Restoration of the Mortgaged
Property shall be subject to the prior written approval of Mortgagee; and

(ii) in the event Mortgagee determines, in its sole discretion, that the
insurance proceeds are insufficient to complete the Restoration of the Mortgaged Property
in accordance with the plans and specifications approved by Mortgagee, Mortgagor shall
deposit with Mortgagee, within a period of forty-five (45) days after written demand
therefor, such additional funds as shall be deemed necessary by Mortgagee to so complete
the Restoration of the Mortgaged Property; and

(iii) the Proceeds disbursed do not exceed 100% of the costs incurred in
the Restoration of the Mortgaged Property;

(iv) the Proceeds will be disbursed under procedures established by
Mortgagee for disbursement of construction loans, and Mortgagee shall be entitled to a
reasonable and customary administrative fee for every disbursement or partial
disbursement of Proceeds made:

(y) Mortgagor shall be responsible for the payment of, and shall
reimburse Mortgagee for, all documented Third Party costs and expenses incurred by
Mortgagee, including, but not limited to, reasonable consulting, engineering, architectural
and legal fees and travel expenses:

(vi) the net operating income from the Mortgaged Property shall, in
Mortgagee’s sole discretion, be sufficient to continue to service the Loan: and

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(vil) at the time of the occurrence of such casualty, and at the time any
such disbursement of Proceeds is sought, neither Mortgagor nor any other Loan Party is in
default hereunder or under the Loan Agreement or under any other Loan Documents,

(b) If in the opinion of Mortgagee. the Proceeds together with any additional
funds deposited by Mortgagor, are insufficient to permit Restoration of the Mortgaged Property,
Mortgagee may apply the Proceeds to the reduction of the Debt. If (i) the Proceeds are used for
the Restoration of the Mortgaged Property and (ii) any surplus shall exist after such Restoration,
such surplus may, at the option of Mortgagee, be hetd and applied to the reduction of the Debt,

(c) In the event ofa Taking, Mortgagor hereby assigns to Mortgagee all Awards
and authorizes Mortgagee to collect and receive such Awards and to give receipts and acquittances
therefor. Mortgagor hereby agrees, upon request. to make, execute and deliver any and all
additional assignments and other instruments sufficient, necessary or proper for the purpose of
assigning said Awards to Mortgagee free and clear of any Liens or encumbrances of any kind or
nature whatsoever. In the event that all or substantiaily all of the Mortgaged Property is Taken or
in the event that less than all of the Mortgaged Property is Taken and Mortgagee determines, in its
sole discretion, that the Mortgaged Property cannot be Restored to a condition which does not
impair the Mortgaged Property, then all Awards shall be applied by the Mortgagee to the payment

and satisfaction of the Debt, including the reimbursement of all expenses incurred by the
Mortgagee, and the balance of any remaining Awards, if there are any, shall be released to
Mortgagor,

{d) If, prior to the receipt by Mortgagee of any Award, the Mortgaged Property
shall have been Transferred as a result of any foreclosure of this Mortgage, Mortgagee shall have
the right to receive such Award to the extent of any deficiency found to be due upon such Transfer.
with legal interest thereon, whether or not a deficiency judgment on this Mortgage shall have been
sought, recovered or denied.

18. Right to Cure Defaults. Upon the occurrence of any Event of Default, Mortgagee
may, but without any obligation to do so and without notice to or demand on Mortgagor and
without releasing Mortgagor from any obligation hereunder, perform the obligations of Mortgagor
and any other Loan Party under the Loan Documents in default in such manner and to such extent
as Mortgagee may deem necessary to protect the Lien and security interest created hereby.
Mortgagee is authorized to enter upon the Mortgaged Property for such purposes or appear in,
defend or bring any action or proceeding to protect its interests in and to the Mortgaged Property
or to foreclose this Mortgage or collect the Debt, and the cost and expense thereof (including
reasonable attorneys’ fees and disbursements to the extent permitted by applicable Legal
Requirements), with interest thereon at the then applicable default rate from the date on which
such cost or expense was incurred by Mortgagee under this Paragraph 18 to the date of payment
to Mortgagee, shall: (i) constitute a portion of the Debt, (ii) be secured by this Mortgage and the
other Loan Documents, and ( ili) be due and payable to Mortgagee upon demand.

 
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ARTICLE U1. REMEDIES

19. Remedies.

(a) Upon the occurrence of any Event of Default, under the Loan Agreement,
Or under any other Loan Document, in addition to any other rights, remedies and powers that
Mortgagee may have under the Loan Documents or as permitted by Legal Requirements.
Mortgagee may take such action, without notice or demand, as it deems advisable to protect and
enforce its rights against Mortgagor and in and to the Mortgaged Property, by Mortgagee itself or
otherwise, including the following actions, each of which may be pursued concurrently or
otherwise, at such time and in such order as Mortgagee may determine, in its sole discretion,
without impairing or otherwise affecting the other rights and remedies of Mortgagee, whether
under the Loan Agreement, the other Loan Documents or any Legal Requirement:

(i) declare the entire Debt to be immediately due, payable and
collectible regardless of maturity;

{ii} institute a proceeding or proceedings, judicial or nonjudicial, to the
extent permitted by Legal Requirements, by advertisement or otherwise, for the complete
foreclosure of this Mortgage, in which case the Mortgaged Property may be sold for cash
OF upon credit in one or more parcels or in several interests or portions and in any order or
manner;

(iti) with or without entry, to the extent permitted and pursuant to the
procedures provided by Legal Requirements, institute proceedings for the partial
foreclosure of this Mortgage for the portion of the Debt then due and payable, subject to
the continuing Lien of this Mortgage for the balance of the Debt not then due;

(iv) seli for cash or upon credit the Mortgaged Property and all estate,
claim, demand, right, title and interest of Mortgagor therein and rights of redemption
thereof, pursuant to the power of sale, to the extent permitted by Legal Requirements, or
otherwise, at one or more sales, as an entirety or in parcels, at such time and place, upon
such terms and after such notice thereof as may be required or permitted by Legal
Requirements;

(v) institute an action, suit or proceeding in equity for the specific
performance of any covenant, condition or agreement contained in this Mortgage, the Loan
Agreement, or any other Loan Document:

(vi) recover judgment on the Loan Agreement and other Loan
Documents either before, during or after any proceeding for the enforcement of this
Mortgage;

(vil) if permitted by Legal Requirements, obtain a judgment for any
deficiency remaining in the Debt after application of amounts received from the exercise
of the rights provided in this Paragraph 19;

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{vilil) apply for the appointment of a trustee, receiver, liquidator or
conservator of the Mortgaged Property, without notice and without regard for the adequacy
of any security for the Debt and without regard for the solvency of the Mortgagor or of any
Person liable for the payment of the Debt:

(ix) enforce Mortgagee’s interest in the Leases and Rents and enter into
Or upon the Mortgaged Property, either personally or by its agents, nominees or attorneys
and dispossess Mortgagor and its, his, or her agents and employees therefrom, and
thereupon Mortgagee may (A) use, operate, manage, control, insure, maintain, repair,
restore and otherwise deal with the Mortgaged Property and conduct the business thereat;
(B) complete any construction on the Mortgaged Property in such manner and form as
Mortgagee deems advisable; (C) make alterations, additions, renewals, replacements and
improvements to or on the Mortgaged Property; (D) exercise ail rights and powers of
Mortgagor with respect to the Mortgaged Property, whether in the name of Mortgagor or
otherwise, including the right ta make, cancel, enforce or modify Leases, obtain and evict
tenants, and demand, sue for, collect and receive Rents; and (E) apply the receipts from the
Mortgaged Property to the payment of the Debt, after deducting therefrom all expenses
(including reasonable attorneys’ fees and disbursements) incurred in connection with the
aforesaid operations and all amounts necessary to pay the Taxes, Policies, and Other
Charges in connection with the Mortgaged Property, as well as just and reasonable
compensation for the services of Mortgagee, and its counsel, agents and employees;

(x) require Mortgagor to pay monthly in advance to Mortgagee, or any
receiver appointed to collect the Rents, the fair and reasonable rental value for the use and
occupation of any portion of the Mortgaged Property occupied by Mortgagor, and require
Morigagor to vacate and surrender possession of the Mortgaged Property to Mortgagee or
to such receiver, and, in default thereof, evict Mortgagor by summary proceedings or
otherwise: or

(xi) pursue such other rights and remedies as may be available at law or
in equity or under the UCC or other applicable Legal Requirements, including the right to
receive and/or establish a lock box for ail Rents and proceeds from the Intangibles and any
other receivables or rights to payments of Mortgagor relating to the Mortgaged Property.

In the event of a sale or other Transfer, by foreclosure or otherwise, of less than all of the
Mortgaged Property, this Mortgage shall continue as a Lien on the remaining portion of the
Mortgaged Property.

(b) The proceeds of any sale or other Transfer made under or by virtue of this
Paragraph 19, together with any other sums which then may be held by Mortgagee under this
Mortgage, whether under the provisions of this paragraph or otherwise, shall be applied by
Mortgagee to the payment of the Debt in such priority and proportion as Mortgagee in its sole
discretion shall determine.

{c) Mortgagee may adjourn from time to time any sale or other Transfer by it
to be made under or by virtue of this Mortgage by announcement at the time and place appointed
for such sale or other Transfer for such adjourned sale or other Transfer: and, except as otherwise

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provided by any Legal Requirements, Mortgagee. without further notice or publication, may make
such sale or other Transfer at the time and place to which the same shall be so adjourned.

(d} Upon the completion of any sale(s) or other Transfer(s) pursuant hereto,
Mortgagee, or an officer of any court empowered to do so, shall execute and deliver to the accepted
purchaser or purchasers a good and sufficient instrument, or good and sufficient instruments,
Transferring all estate, right, title and interest in and to the Mortgaged Property and rights sold.
Mortgagee is hereby irrevocably appointed the true and lawful attorney of Mortgagor, in its name
and stead, to make all necessary Transfers of the Mortgaged Property and rights so sold and for
that purpose Mortgagee may execute all necessary instruments of Transfer, and may substitute one
or more Persons with like power, Mortgagor hereby ratifying and confirming al] that its said
attorney or such substitute or substitutes shall lawfully do by virtue hereof. Any sale(s) or
Transfer(s) made under or by virtue of this Paragraph 19, whether made under the power of sale
herein granted or under or by virtue of judicial proceedings or of a judgment or decree of
foreclosure and sale, shall operate to divest all the estate, right, title, interest, claim and demand
whatsoever, whether at law or in equity, of Mortgagor in and to the properties and rights so sold,
and shall be a perpetual bar both at law and in equity against Mortgagor and against any and all
Persons claiming or who may claim the same, or any portion thereof, from, through or under
Mortgagor.

{e) Upon any salefs) or other Transfer(s}) made under or by virtue of this
Paragraph 19, whether made under a power of sale or under or by virtue of judicial proceedings or
ofa judgment or decree of foreclosure and sale, Mortgagee may bid for and acquire the Mortgaged
Property or any portion thereof and in lieu of paying cash therefor may make settlement for the
purchase price by crediting upon the Debt the net sales price after deducting therefrom the
expenses of the sale or other Transfer and costs of the action and any other sums which Mortgagee
is authorized to deduct under this Mortgage or any other Loan Document.

(f) No recovery of any judgment by Mortgagee and no Jevy of an execution
under any judgment upon the Mortgaged Property or upon any other property of Mortgagor shall
affect in any manner or to any extent the Lien of this Mortgage upon the Mortgaged Property or
any portion thereof, or any Liens, rights, powers or remedies of Mortgagee hereunder, but such
Liens, rights, powers and remedies of Mortgagee shall continue unimpaired as before.

g) Mortgagee may terminate or rescind any proceeding or other action brought
in connection with its exercise of the remedies provided in this Paragraph 19 at any time before
the conclusion thereof, as determined in Mortgagee’s sole discretion and without prejudice to
Mortgagee.

(h) — In any action to foreclose this Mortgage or upon the occurrence of an Event
of Default, the Mortgagee shall have the right to apply for the appointment of receiver, trustee,
liquidator or conservator of the rents and profits of the Mortgaged Property, and shall be entitled
to the appointment of such receiver as a matter of right. Mortgagor hereby consents to such
appointment and waives notice of any application thereof.

a) Mortgagee may resort to any remedies and the security given by this
Mortgage or in any other Loan Document in whole or in part, and in such portions and in such
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order as determined by Mortgagee in its sole discretion, No such action shall in any way be
considered a waiver of any rights, benefits or remedies evidenced or provided by any Loan
Document. The failure of Mortgagee to exercise any right, remedy or option provided in any Loan
Document shall not be deemed a waiver of such right, remedy or option or of any covenant or
obligation secured by any Loan Document. No acceptance by Mortgagee of any payment after the
occurrence of any Event of Default and no payment or performance by Mortgagee of any
obligation for which Mortgagor or any other Loan Party, as applicable, is liable hereunder shall be
deemed to waive or cure any Event of Default, or Mortgagor’s liability to pay such obligation. No
sale or other Transfer of all or any portion of the Mortgaged Property. no forbearance on the part
of Mortgagee, and no extension of time for the payment of the whole or any portion of the Debt
or any other indulgence given by Mortgagee to Mortgagor, shall operate to release or in any
manner affect the interest of Mortgagee in the remaining Mortgaged Property or the liability of
Mortgagor to pay the Debt. No waiver by Mortgagee shall be effective unless it is in writing and
then only to the extent specifically stated. All costs and expenses of Mortgagee in exercising its
rights and remedies under this Paragraph 19 (including reasonable attorneys’ fees and
disbursements to the extent permitted by Legal Requirements), shall be paid by Mortgagor within
five (5) days after notice from Mortgagee, with interest at the then applicable default rate for the
period after notice from Mortgagee, and such costs and expenses shall constitute a portion of the
Debt and shall be secured by this Mortgage.

Gg) The interests and rights of Mortgagee under the Loan Documents shall not
be impaired by any indulgence or forbearance, including (i) any renewal, extension or modification
which Mortgagee may grant with respect to any of the Debt, (ii) any surrender, compromise,
release, renewal, extension, exchange or substitution which Mortgagee may grant with respect to
the Mortgaged Property or any portion thereof or (iii) any release or indulgence granted to any
maker, endorser, guarantor, pledgor, or surety of any of the Debt.

20. Right of Entry. In addition to any other rights or remedies granted under this
Mortgage, Mortgagee and its agents and employees shall have the right to enter and inspect or
audit the Mortgaged Property at any reasonable time during the term of this Mortgage. Subject to
the next sentence, the cost of such inspections or audits shall be borne by Mortgagor should
Mortgagee determine that an Event of Default exists, including the cost of all follow up or
additional investigations, audits, or inquiries deemed reasonably necessary by Mortgagee. The
cost of such inspections and audits, if not paid for by Mortgagor within five (5) days after demand,
may be added to the principal balance of the Loan and this Mortgage and shall bear interest
thereafter until paid at the then applicable default rate.

ARTICLE IT. MISCELLANEOUS

21. Notices. All notices, consents, approvals, demands, and requests required or
permitted hereunder or under any other Loan Document (each, a “Notice’) shali be given in
writing and shall be effective for all purposes if either hand delivered with receipt acknowledged,
or by a nationally recognized overnight delivery service (such as Federal Express), or by
certified or registered United States mail, return receipt requested, postage prepaid, in each case
addressed as follows (or to such other address or Person as a party shall designate from time to
time by Notice to the other party):
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If to AXOS BANK
Mortgagee: c/o World Business Lenders, LLC
101 Hudson St, 33rd Floor
Jersey City, NJ 07302
Attn: Robert M. Pardes, Managing Director

with a copy WORLD BUSINESS LENDERS, LLC
to: 101 Hudson St., 33rd Floor
Jersey City, NJ 07302
Attn: Andy Occhino, General Counsel

If to JACOB ADONI A/K/A JACOB V. ADONI
Mortgagor: 19 Chestnut Hill Drive
Oyster Bay, NY 11771

A Notice shall be deemed to have been given: in the case of hand delivery, at the time of delivery: in
the case of registered or certified mail, when delivered or the first attempted delivery on a business
day: or in the case of overnight delivery, upon the first attempted delivery on a business day.

22. Security Agreement. This Mortgage is both a real property Mortgage and a
“security agreement” within the meaning of the UCC. The Mortgaged Property includes both real
and personal property and all other rights and interests, whether tangible or intangible in nature,
of Mortgagor in the Mortgaged Property. In addition, in order to secure the prompt payment and
performance of the Debt, Mortgagor hereby grants to Mortgagee a security interest in all of
Mortgagor’s right, title and interest, whether now owned or hereafter acquired or arising, in and to
the following (each item having the meaning ascribed to such term in the UCC): (a) all accounts,
(b) all chattel paper, (c) all equipment, (d) all fixtures, (e) all general intangibles, (4) all goods, (g)
all instruments, (h) all inventory, (i) all deposit accounts and securities accounts, (j) all other
portions of the Mortgaged Property which may be subject to the UCC, and (k) all proceeds of any
and all of the foregoing (collectively, the “UCC Collateral’). This Mortgage shall also constitute
a “fixture filing” for the purposes of the UCC. As such, this Mortgage covers all items of the UCC
Collateral that are or are to become fixtures. Information concerning the security interest herein
granted may be obtained from the parties at the addresses of the parties set forth in the first
paragraph of this Mortgage. If an Event of Default shall occur, Mortgagee, in addition to any other
rights and remedies which it may have, shall have and may exercise immediately and without
demand, any and all rights and remedies granted to a secured party upon default under the UCC,
including, without limiting the generality of the foregoing, the right to take possession of the UCC
Collateral or any portion thereof, and to take such other measures as Mortgagee may deem
necessary for the care, protection and preservation of the UCC Collateral. Upon request or demand
of Mortgagee, Mortgagor shall at its expense assemble the UCC Collateral and make it available
to Mortgagee at a place acceptable to Mortgagee. Mortgagor shall pay to Mortgagee on demand
any and all reasonable expenses, including reasonable attorneys’ fees and disbursements, incurred
or paid by Mortgagee in protecting its interest in the UCC Collateral and in enforcing the rights
hereunder with respect to the UCC Collateral. Any notice of sale, disposition, other Transfer, or
other intended action by Mortgagee with respect to the UCC Collateral, sent to Mortgagor in
accordance with the provisions hereof at least ten (10) days prior to such action, shall constitute

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commercially reasonable notice to Mortgagor. The proceeds of any disposition of the UCC
Collateral, or any part thereof, may be applied by Mortgagee to the payment of the Debt in such
priority and proportions as Mortgagee in its sole discretion shall determine. In the event of any
change in name, identity or structure of Mortgagor, Mortgagor shall promptly notify Mortgagee
thereof in writing and promptly after request shall prepare, execute, file and/or record or authorize
Mortgagee to prepare, file and/or record, as applicable, such UCC forms as are necessary to
maintain the priority of Mortgagee’s Lien upon and security interest in the UCC Collateral, and
shall pay all expenses and fees in connection with the filing and recording thereof. If Mortgagee
shall require the preparation, filing and/or recording of additional UCC financing or continuation
statements, Mortgagor shall, promptly after request, file and record such UCC forms or
continuation statements as Mortgagee shall deem necessary, and shall pay all reasonable expenses
and fees in connection with the filing and recording thereof, it being understood and agreed,
however, that no such additional documents shall increase Mortgagor’s obligations under the Loan
Documents. Mortgagor hereby authorizes Mortgagee at any time and from time to time to file any
financing or continuation statements in any jurisdiction and with such filings offices as is necessary
or desirable to establish or maintain the perfection and priority of the security interests granted in
this Mortgage. Any such financing statements may indicate the collateral as “all assets of the
debtor, including all goods that are or to become fixtures, whether now owned or hereafter acquired
or arising” or using words of similar effect. Mortgagor hereby irrevocably appoints Mortgagee as
its attorney-in-fact, coupled with an interest, to file with the appropriate public office on its behalf
any financing or other statements signed or authorized only by Mortgagee, as secured party, in
connection with the UCC Collateral covered by this Mortgage.

23. Actions and Proceedings. Mortgagee has the right to appear in and defend any
action or proceeding brought with respect to the Mortgaged Property and to bring any action or
proceeding, in the name and on behalf of Mortgagor, which Mortgagee, in its sole discretion,
decides should be brought to protect its or their interest in and Lien on the Mortgaged Property.
Mortgagee shall, at its option, be subrogated to the Lien of any mortgage or other security
instrument discharged in whole or in part by the Debt, and any such subrogation rights shall
constitute additional security for the full and indefeasible payment of the Debt.

24. Marshalling and Other Matters. Mortgagor hereby waives, to the extent permitted
by Legal Requirements, the benefit of all appraisement, valuation, stay, extension, reinstatement
and redemption laws now or hereafter in force and all rights of marshalling in the event of any sale
or other Transfer hereunder of the Mortgaged Property or any portion thereof or any interest
therein. Further, Mortgagor hereby expressly waives any and all rights of redemption from the
sale or other Transfer under any order or decree of foreclosure of this Mortgage on behalf of
Mortgagor, and on behalf of each and every Person acquiring any interest in or title to the
Mortgaged Property subsequent to the Effective Date and on behalf of all Persons to the extent
permitted by applicable Legal Requirements. The Lien of this Mortgage shall be absolute and
unconditional and shall not in any manner be affected or impaired by any acts or omissions
whatsoever of Mortgagee and, without limiting the generality of the foregoing, the Lien hereof
shall not be impaired by (i) any acceptance by Mortgagee of any other security for any portion of
the Debt, (ii) any failure, neglect or omission on the part of Mortgagee to realize upon or protect
any portion of the Debt or any collateral security therefor or (tii) any release (except as to the
property released), sale, Transfer, pledge. surrender, compromise, settlement, renewal, extension,
indulgence, alteration, changing, modification or disposition of any portion of the Debt or of any

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of the collateral security therefor (including, the Mortgaged Property and any other collateral,
including the Collateral (as defined in the Loan Agreement); and Mortgagee may foreclose, or
exercise any other remedy available to Mortgagee under other Loan Documents without first
exercising or enforcing any of its remedies under this Mortgage, and any exercise of the rights and
remedies of Mortgagee hereunder shall not in any manner impair the Debt, the Liens created
hereby or by any other Loan Document, or any of Mortgagee’s tights and remedies thereunder.

25. Inapplicable Provisions. If any term, covenant or condition of this Mortgage is held
to be invalid, illegal or unenforceable in any respect, this Mortgage shall be construed without
such provision.

26. Headings. The paragraph headings in this Mortgage are for convenience of
reference only and are not to be construed as defining or limiting, in any way, the scope or intent
of the provisions hereof.

27. Duplicate Originals. This Mortgage may be executed in any number of duplicate
originals and each such duplicate original shall be deemed to be an original.

28. Homestead. Mortgagor hereby waives and renounces all homestead and exemption
rights provided by the Constitution and the laws of the United States or by any other Legal
Requirement, in and to the Mortgaged Property as against the collection of the Debt, or any portion
thereof.

29. Assignments. Mortgagee shall have the right to assign or Transfer its rights under
this Mortgage without limitation. Any assignee or Transferee shall be entitled to all the benefits
afforded Mortgagee under this Mortgage including all rights contained in this Paragraph 29.

 

30. Waiver of Jury Trial MORTGAGOR HEREBY AGREES NOT TO ELECT
ATRIAL BY JURY OF ANY ISSUE TRIABLE OF RIGHT BY JURY, AND WAIVES 4NY
RIGHT TO TRIAL BY JURY FULLY IRREVOCABLY AND UNCONDITIONALLY TO
THE EXTENT THAT ANY SUCH RIGHT SHALL NOW OR HEREAFTER EXIST WITH
REGARD TO THIS MORTGAGE GR ANY OTHER LOAN DOCUMENT, OR ANY
CLAIM, COUNTERCLAIM OR OTHER ACTION ARISING IN CONNECTION
THEREWITH. THIS WAIVER OF RIGHT TO TRIAL BY JURY IS GIVEN
KNOWINGLY AND VOLUNTARILY BY MORTGAGOR, AND IS INTENDED TO
ENCOMPASS INDIVIDUALLY EACH INSTANCE AND EACH ISSUE AS TO WHICH
THE RIGHT TO A TRIAL BY JURY WOULD OTHERWISE ACCRUE. MORTGAGEE
IS HEREBY AUTHORIZED TO FILE A COPY OF THIS PARAGRAPH IN ANY
PROCEEDING AS CONCLUSIVE EVIDENCE OF THIS WAIVER BY MORTGAGOR.

31. Consents. Any consent or approval by Mortgagee in any single instance shall not
be deemed or construed to be Mortgagee’s consent or approval in any like matter arising at a
subsequent date, and the failure of Mortgagee to promptly exercise any right, power, remedy,
consent or approval provided herein or at law or in equity shall not constitute or be construed as a
waiver of the same nor shall Mortgagee be estapped from exercising such right, power, remedy,
consent or approval at any later date. Any consent or approval requested of and granted by
Mortgagee pursuant hereto shall be narrowly construed to be applicable only to Mortgagor and the

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matter identified in such consent or approval and no other Person shall claim any benefit by reason
thereof, and any such consent or approva! shall not be deemed to constitute Mortgagee a venturer
or partner with Mortgagor nor shall privity of contract be presumed to have been established with
any such other Person. If Mortgagee deems it to be in its best interest to retain assistance of
Persons, firms or corporations (including attorneys, title insurance companies, appraisers,
engineers and surveyors) with respect to a request for consent or approval, Mortgagor shall
reimburse Mortgagee for all costs reasonably incurred in connection with the employment of such
Persons, firms or corporations.

32. Employee Benefit Plan. During the term of this Mortgage, unless Mortgagee shall
have previously consented in writing, (i) Mortgagor shall take no action that would cause it to
become an “employee benefit plan’ as defined in 29 C.F.R. Section 2516.3-101, or “assets of a
governmental pian” subject to regulation under the state statutes, and (it) Mortgagor shall not
Transter the Mortgaged Property, or any portion thereof or interest therein, to any transferee that
does not execute and deliver to Mortgagee its, his or her written assumption of the obligations of
this Paragraph 32. Mortgagor shall protect. defend, indemnify and hold Mortgagee harmless from
and against all loss, cost, damage and expense (including all attorneys’ fees and disbursements,
excise taxes and costs and expenses of correcting any prohibited transaction or obtaining an
appropriate exemption) that Mortgagee may incur as a result of Mortgagor’s breach of this
Paragraph 32. The covenant and indemnity in this Paragraph 32 shall survive the extinguishment
of the Lien of this Mortgage by foreclosure or action in lieu thereof: furthermore, the foregoing
indemnity shall supersede any limitations on Mortgagor’s liability under any of the Loan
Documents,

33. GOVERNING LAW AND VENUE.

(a) WITH RESPECT TO MATTERS RELATING TO THE CREATION AND
PERFECTION OF THE LIENS AND SECURITY INTERESTS CREATED BY THIS
MORTGAGE, AND TO PROCEDURES RELATING TO THE FORECLOSURE OF SUCH
LIENS AND SECURITY INTERESTS, THIS MORTGAGE SHALL BE GOVERNED BY, AND
BE CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE PROPERTY STATE, IT
BEING UNDERSTOOD THAT, EXCEPT AS EXPRESSLY SET FORTH ABOVE IN THIS
PARAGRAPH AND TO THE FULLEST EXTENT PERMITTED BY THE LAW OF THE
PROPERTY STATE, THE LAW OF THE LOAN AGREEMENT STATE APPLICABLE TO
CONTRACTS MADE AND PERFORMED IN SUCH STATE, SHALL GOVERN ALL OTHER
MATTERS RELATING TO THIS MORTGAGE AND THE OTHER LOAN DOCUMENTS,
INCLUDING ALL MATTERS RELATING TO THE DEBT (INCLUDING THE
ENFORCEMENT THEREOF) ARISING HEREUNDER OR THEREUNDER. ALL
PROVISIONS OF THE LOAN AGREEMENT AND THE OTHER LOAN DOCUMENTS
INCORPORATED HEREIN BY REFERENCE SHALL BE GOVERNED BY, AND
CONSTRUED IN ACCORDANCE WITH. THE LAWS OF THE LOAN AGREEMENT STATE,
AS SET FORTH IN THE GOVERNING LAW PROVISION OF THE LOAN AGREEMENT.

(b) THE MORTGAGOR HEREBY CONSENTS TO THE JURISDICTION
OF THE COURTS OF THE LOAN AGREEMENT STATE (AND THE PROPERTY STATE IF
THE MORTGAGED PROPERTY IS NOT LOCATED IN THE LOAN AGREEMENT STATE)
IN ANY ACTION ARISING OUT OF OR IN CONNECTION WITH THIS MORTGAGE

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AND/OR THE OTHER LOAN DOCUMENTS. IN ADDITION, THE MORTGAGOR
IRREVOCABLY AND UNCONDITIONALLY WAIVES ANY OBJECTION WHICH THE
MORTGAGOR MAY NOW OR HEREAFTER HAVE TO THE LAYING OF VENUE OF ANY
ACTION ARISING OUT OF OR IN CONNECTION WITH THIS MORTGAGE AND/OR THE
OTHER LOAN DOCUMENTS BROUGHT-IN ANY OF THE AFORESAID COURTS, AND
HEREBY FURTHER IRREVOCABLY AND UNCONDITIONALLY WAIVES THE RIGHT
TO PLEAD OR CLAIM THAT ANY SUCH ACTION BROUGHT IN ANY SUCH COURT
HAS BEEN BROUGHT IN AN INCONVENIENT FORUM.

34. — Joint and Several Liability. If Mortgagor consists of more than one Person, all
liabilities and obligations of each such Mortgagor under this Mortgage. shall be joint and several.

35, Future Advances. This Mortgage is given (i) to secure the Debt and (ii) to wholly
secure all future advances and/or future obligations of Mortgagor to Mortgagee whether now
existing or hereafter incurred by reason of future advances or future obligations by Mortgagee and
regardless of whether such advances or obligations were contemplated by the parties as of the
Effective Date. Notice of the continuing grant under the Mortgage shall not be required to be
stated on the face of any document evidencing the Debt or any Obligation nor shall such documents
be required to otherwise specify that they were secured hereby. The maximum principal amount
which may be secured by this Mortgage at any one time is $90,000.00 plus interest (which may
include interest on interest) and costs of collection. The period in which future advances may be
made and future obligations may be incurred is the period between the Effective Date and that date
which is thirty (30) years from the Effective Date. All future advances and future obligations shall
be considered to be made pursuant to applicable Legal Requirements.

ARTICLE IV. STATE SPECIFIC PROVISIONS

36. Principles of Construction. In the event of any inconsistencies between the terms
and conditions of this Article IV and the other terms and conditions of this Mortgage, the terms
and conditions of this Article 1V shalf control and be binding.

37, Acceleration: Remedies.

(a) At any time afier the occurrence of an Event of Default, Mortgagee, at
Mortgagee’s option, may declare the Debt to be immediately due and payable without further demand,
and may foreclose this Mortgage by judicial or nonjudicial proceedings, will be entitled to the
appointment of a receiver, without notice, and may invoke any other remedies permitted by New
York law or provided in this Mortgage, the Loan Agreement or in any other Loan Document.

(b) — Mortgagee may. at Mortgagee’s option, also foreclose this Mortgage for any
portion of the Loan which is then due and payable, subject to the continuing Lien of this Mortgage
for the balance of the Debt.

{c) Mortgagee will be entitled to collect all costs and expenses allowed by New
York law, including attorneys’ fees and costs, costs of documentary evidence, abstracts, title reports,
statutory costs and any additional allowance made pursuant to Section 8303 of the Civil Practice Law
and Rules.
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(d) The rights and remedies of Mortgagee specified in this Mortgage will be in
addition to Mortgagee’s rights and remedies under New York law, specifically including Section 2454
of the Real Property Law. In the event of any conflict between the provision. of this Mortgage, the
Loan Agreement and the provisions of Section 254 of the Real Property Law, the provisions of this
Morigage and the Loan Agreement will control. Notwithstanding anything contained in this
Mortgage, it is specifically acknowledged that the provisions of subsection 4 of Section 254 of the
Real Property Law covering the insurance of buildings against loss by fire will not apply to this
Mortgage or the Loan Agreement.

38. Satisfaction of Debt. Upon payment of the Debt, Mortgagee will discharge
this Mortgage. If it is the practice of the industry at the time the Debt is paid to assign, rather than
discharge, a mortgage, then at Mortgagor’s request, Mortgagee will assign Mortgagee’s interest in
this Mortgage, together with the Loan Agreement notes secured by this Mortgage, to a Person
specified by Mortgagor in writing to Mortgagee. Mortgagee will make an y such assignment without
recourse to Mortgagee, using Mortgagee’s then-current form of assignment. If any original note is
lost or destroyed, Mortgagee will provide a lost note affidavit, which will provide that Mortgagee will
have no fiability for such loss or destruction. Mortgagor will pay Mortgagee’s reasonable costs
incurred in discharging or assigning this Mortgage, as applicable.

39, Lien Law. Mortgagor will receive advances under this Mortgage subject to the
trust fund provisions of Section 13 of the Lien Law.

40. Maximum Principal Amount. Notwithstanding any provision set forth in this
Mortgage to the contrary, the maximum amount of principal indebtedness secured by this Mortgage
at execution, or which under any contingency may become secured by this Mortgage at any time
hereafter, is $90,000.00, plus all interest payable under the Loan Agreement and all amounts
expended by Mortgagee after an Event of Default for all of the following:

{a) For the payment of taxes, charges or assessments which may be imposed by
legal requirements upon the Mortgaged Property.

(b) To maintain the insurance required under the Loan Agreement.

(c) For any expenses incurred in maintaining the Mortgaged Property and
upholding the Lien of this Mortgage, including the expense of any litigation to prosecute or defend
the rights and Lien created by this Mortgage.

(d} For any amount, cost or charge to which Mortgagee becomes subrogated,
upon payment, whether under recognized principles of law or equity, or under express statutory
authority, together with interest on all of the foregoing amounts at the Default Rate (as defined in the
Loan Agreement).

4t. Section 291-F of the Real Property Law. In addition to any other right or
remedy contained in this Mortgage, the Loan Agreement or in any other Loan Document, Mortgagee
will have all the rights against lessees of al! or any part of the Mortgaged Property as are set forth in
Section 291-f of the Real Property Law of New York,
 

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42. Transfer Tax Provisions. Mortgagor covenants and agrees to each of the
following:
(a) In the event of a sale of the Mortgaged Property or other Transfer, Mortgagor

will duly complete, execute and deliver to Mortgagee, contemporaneously with the submission to the
applicable taxing authority or recording officer, all forms and supporting documentation required by
such taxing authority or recording officer to estimate and fix any and all applicable state and local real
estate transfer taxes (collectively “Transfer Taxes”) assessable by reason of such sale or other
Transfer or recording of the deed evidencing such sale or other Transfer.

{b) Mortgagor will pay all Transfer Taxes that may hereafter become due and
payable with respect to any Transfer, and if Mortgagor fails to pay any such Transfer Taxes,
Mortgagee may pay such Transfer Taxes and the amount of such payment will be added to the Debt
and, unless incurred in connection with a foreclosure of this Mortgage, be secured by this Mortgage.

The provisions of this Section will survive any Transfer and the delivery of the deed
in connection with any Transfer.

43, WAIVER OF TRIAL BY JURY.

(a) EACH OF MORTGAGOR AND MORTGAGEE COVENANTS AND
AGREES NOT TO ELECT A TRIAL BY JURY WITH RESPECT TO ANY ISSUE ARISING
OUT OF THIS MORTGAGE OR THE RELATIONSHIP BETWEEN THE PARTIES AS
GUARANTOR AND LENDER THAT IS TRIABLE OF RIGHT BY A JURY.

{b) EACH OF MORTGAGOR AND MORTGAGEE WAIVES. ANY
RIGHT TO TRIAL BY JURY WITH RESPECT TO SUCH ISSUE TO THE EXTENT THAT
ANY SUCH RIGHT EXISTS NOW OR IN THE FUTURE. THIS WAIVER OF RIGHT TO
TRIAL BY JURY IS SEPARATELY GIVEN BY EACH PARTY, KNOWINGLY AND
VOLUNTARILY WITH THE BENEFIT OF COMPETENT LEGAL COUNSEL.

44. TRUE AND CORRECT COPY. MORTGAGOR HEREBY DECLARES
THAT MORTGAGOR HAS READ THIS MORTGAGE, HAS RECEIVED A
COMPLETELY FILLED-IN COPY OF IT WITHOUT CHARGE THEREFOR, AND HAS
SIGNED THIS MORTGAGE AS OF THE EFFECTIVE DATE.

ARTICLE V. DEFINITIONS; PRINCIPLES OF CONSTRUCTION
45. Definitions. The following terms have the meanings set forth below:

Affiliate: as to any Person, any other Person (i) which directly or indirectly through one or
more intermediaries Controls, or is Controlled by, or is under common Control with, such Person;
or (11) which, directly or indirectly, beneficially owns or holds ten percent (10%) or more of any
class of stock or any other ownership interest in such Person; or (iii) ten percent (10%) or more
of the direct or indirect ownership of which is beneficially owned or held by such Person; or (iv)
which is a member of the family (as defined in Section 267(c)(4) of the Bankruptcy Code) of such
Person or which is a trust or estate, the beneficial owners of which are members of the family {as
defined in Section 267(c)(4) of the Bankruptcy Code) of such Person; or (v) which directly or

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indirectly is a general partner, controlling shareholder, ianaging member, officer, director,
trustee or employee of such Person.

Award(s): award(s) heretofore or hereafter made for damages suffered or compensation paid
by reason of a Taking.

Bankruptcy Preceeding. with respect to any Person, any petition by or against such Person
under the Bankruptcy Code or any state or other federal bankruptcy or insolvency law, or the
liquidation of all or a major portion of the assets or properties of such Person.

Condemnation: any condemnation ot eminent domain proceeding affecting the Mortgaged
Property.

Control: with respect to any Person, either (i) ownership directly or indirectly of fifty percent
(50%) or more of all equity interests in such Person or (ii) the possession, directly or indirectly,
of the power to direct or cause the direction of the management and policies of such Person,
through the ownership of voting securities, by contract or otherwise; and the terms “Controlled”,
“Controlling” and “common Control” shall have correlative meanings,

Environmental Laws: any Legal Requirement pertaining to or imposing liability or standards
of conduct concerning environmental regulation, contamination or clean-up, including, without
limitation, the Comprehensive Environmental Response, Compensation and Liability Act, the
Resource Conservation and Recovery Act, the Emergency Planning and Community Right-to-
Know Act of 1986, the Hazardous Substances Transportation Act, the Solid Waste Disposal Act,
the Clean Water Act, the Clean Air Act, the Toxic Substance Control Act, the Safe Drinking
Water Act, the Occupational Safety and Health Act, any state super-lien and environmental clean-
up statutes, any other federal or state or local law requiring related permits and licenses and all
amendments to and regulations in respect of the foregoing.

Governmental Authority: any court, board, agency, commission, office or authority of any
nature whatsoever for any governmental unit (federal, state, county, district, municipal, city or
otherwise) now or hereafter in existence.

Hazardous Materials: hazardous, toxic and/or dangerous substances, Toxic Mold, or any
other substances or materials which are included under or regulated by Environmental Laws.

Legal Requirements: statutes, laws, rules, orders, regulations, ordinances, judgments, decrees
and injunctions of any Governmental Authority (including those regarding fire, health,
handicapped access, sanitation, ecological, historic, zoning, environmental protection, wetlands
and building laws and the Americans with Disabilities Act of 1990, Pub. L. No. 89-670, 104
Stat. 327 (1990), as amended, and all regulations promulgated pursuant thereto) affecting
Mortgagor, any Loan Document, or all or part of the Mortgaged Property or the construction,
ownership, use, alteration or operation thereof, whether now or hereafter enacted and in force,
and all permits, licenses and authorizations and regulations relating thereto, and all covenants,
agreements, restrictions and encumbrances contained in any instrument, either of record or known
to Mortgagor, at any time in force affecting all or part of the Mortgaged Property.

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Lien: any mortgage, deed of trust. lien (statutory or otherwise), pledge, hypothecation,
easement, restrictive covenant, preference, assignment. security interest, or any other
encumbrance, charge or Transfer of, or any agreement to enter into or create any of the foregoing,
on or affecting ail or any portion of the Mortgaged Property or any interest therein, or any direct
or indirect interest in Mortgagor, including any conditional sale or other title retention agreement,
any financing lease having substantially the same economic effect as any of the foregoing, the
filing of any financing or continuation statement, and any mechanic’s. materialmen’s and other
similar liens and encumbrances.

Loan Agreement State: the state whose law governs the Loan Agreement, as more
specifically set forth therein.

Loan Partp(ies): collectively and jointly and severally, Mortgagor, and any other Person
obligated to Mortgagee either directly or as a co-obligor or surety with respect to the Debt or any
portion thereof as a signatory to any Loan Document.

Other Charges: all ground rents, maintenance charges, impositions other than Taxes, and any
other charges, including vault charges and license fees for the use of vaults, chutes and similar
areas adjoining the Mortgaged Property, now or hereafter levied or assessed or imposed against
the Mortgaged Property or any portion thereof.

Person: any individual, corporation, partnership, limited liability company, joint venture,
estate, trust, unincorporated association, any other person or entity, and any federal, state, county
or municipal government or any bureau, department or agency thereof and any fiduciary acting
in such capacity on behalf of any of the foregoing.

Policy: any policy of insurance affecting Mortgagor or the Mortgaged Property as required
hereunder or under the other Loan Documents,

Proceeds: the proceeds of any Policy.
Property State: the state where the Mortgaged Property is located.

Taking: a taking by eminent domain, change of grade of streets, or other injury to, or decrease
in the value of, the Mortgaged Property by any public or quasi-public authority or corporation;
and “Take” and “Taken” shall have the correlative meanings,

Taxes: all real estate and personal property taxes, assessments, water rates and sewer rents,
maintenance charges, impositions, vault charges and license fees, now or hereafter levied or
assessed or imposed against all or part of the Mortgaged Property.

Third Party: any Person that is neither Mortgagor, Mortgagee, nor any Affiliate of any of the
foregoing.

Transfer: (i) any sale, conveyance, transfer, encumbrance, pledge, lease or assignment, or the
entry into any agreement to sell, convey, transfer, encumber, pledge, lease or assign, whether by
law or otherwise, of, on, in or affecting (x) all or part of the Mortgaged Property (including any

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legal or beneficial direct or indirect interest therein) or (y) any direct or indirect interest in
Mortgagor or (it) any change of Control of Mortgagor.

46, Principies of Construction. Unless the context clearly indicates a contrary intent or
unless otherwise specifically provided herein, words and definitions used in this Mortgage may be
used interchangeably in singular or plural form; and the word “Mortgagor” shall mean “Mortgagor
and any subsequent owner or owners of the Mortgaged Property or any portion thereof or any
interest therein,” the word “Morfgagee” shall mean “Mortgagee and any subsequent holder of the
Loan,” the words “Mortgaged Property” shall include all or any portion of the Mortgaged Property
and any interest or rights therein, the word “including” means “including but not limited to” and
the words “atforneys’ fees” shall include any and all attorney, paralegal, and law clerk fees
(whether to a Third Party or charged by Mortgagee or any employee of Mortgagee or of any
Affiliate of Mortgagee), including fees at the pre-trial, trial and appellate levels incurred or paid
by Mortgagee in protecting its interest in the Mortgaged Property and enforcing its rights
hereunder, plus disbursements, costs and expenses. Unless otherwise specified, (i) all references
to paragraphs, sections and schedules are to those in this Mortgage, (ii) the words “hereof,”
“herein” and “hereunder” and words of similar import refer to this Mortgage as a whole and not to
any particular provision, (iii) whenever the context may require, any pronoun shall include the
corresponding masculine, feminine and neuter forms, and (iv) accounting terms not specifically
defined herein shall be construed in accordance with generall y accepted accounting principles in
the United States of America, consistently applied,

(SIGNATURE PAGE TO FOLLOW)

Premises is improved by a 1-2 family dwelling.

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IN WITNESS WHEREOF, this Mortgage has been duly executed on the day and
year first above written.

 
   
 

STATE OF | Vikbn
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COUNTY or||

  

 

 

re the undersigned,
LAY p Rae. known to me
or proved to me on thehasiro ¥ Satisfactory evidence to bet the individual(s) whose name(s) is(are)
subscribed to the within instrument and acknowledged to me that he/she/they executed the same in
his/her/their capacity, and that by his/her/their signature(s) on the instrument, the individual(s) or the

person(s) upon behalf of which the individual(s) acted, executed the instrument.

 

 

"Nh NOTARY PUBLIC

 

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Notary Public Siate of New York
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SCHEDULE A
Legal Description

All that certain plot, piece or parcel of land, situate, lying and being in the incorporated village of
upper Brookville, town of north Hempstead, county of Nassau, staie of New York, known and
designated as lot No. 1043 on a certain map entitled "map of chestnut hill, Situated at
incorporated village of upper Brookville, Nassau county, new York", made by Charles E. Ward,
Inc. Dated December 20, 1984 which map was filed in the office of the clerk of the county of
Nassau on February 3, 1986 as map no. 9143, which lot is bounded and described according to
said map as follows:

Beginning at the intersection of the southerly side of chestnut hill drive with the easterly line of
lot 1042 both as shown on said map;

Running thence along the southerly side of chestnut hill drive due East 340.00 feet to the
westerly side of lot 1044 as shown on said map;

Thence at along same, south 3° 00' 06" West 210.00 feet and South 2° 08' 31" East 322.47 feet to
the northerly side of map of cedar ridge and land now or formerly of Elizabeth Horne;

Thence along same, North 88° 50' 30” West 18.27 feet, north 88° 53' 50" West 269.35 feet and,
North 88° 59° 10" West 208.94 feet to the Easterly side of lot 1042:

Thence along same, North 16° 33' 34” East 545.32 feet to the point or place of beginning.
Being and all the same premises conveyed in Book: 12218 Page: 256.
Commonly Known As:

19 Chestnut Hill Drive, Oyster Bay, NY 11771

Parcel ID:
2427-24-E-00-1043-0

28.
